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     One Bala Plaza, Suite 100, Bala Cynwyd, Pennsylvania 19004
     610.617.7900 • Fax 610.617.7940 • PHLY.com



     02/09/2017

     Rush Commercial Construction, Inc.
     6622 Wollochet Dr NW
     Gig Harbor, WA 98335-8325




     5H PHSD1219592


     Dear Valued Customer:


     Thank you very much for choosing Philadelphia Indemnity Insurance Company for your insurance needs. Our first
     class customer service, national presence and A++ (Superior) A. M. Best financial strength rating have made us the
     selection by over 550,000 policyholders nationwide. I realize you have a choice in insurance companies and truly
     appreciate your business.
     I wish you much success this year and look forward to building a mutually beneficial business partnership which
     will prosper for years to come. Welcome to PHLY and please visit PHLY.com to learn more about our Company!


     Sincerely,




     Robert D. O’Leary Jr.
     President & CEO
     Philadelphia Insurance Companies

     RDO/sm




Philadelphia Consolidated Holding Corp. • Philadelphia Indemnity Insurance Company • Tokio Marine Specialty Insurance Co • Maguire Insurance Agency, Inc.



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                                                                                               •    Receive Invoices Electronically
                                                                                               •    Pay Your Bills Online
                                                                                               •    Set Up Recurring Payments
                                                                                               •    Available 24/7



Enroll Today!
                                                                                               •    Safe and Secure
                                                                                               •    NO FEE!
                                                                                               •    Environmentally Friendly

Pay Your Bill Online
To pay your bills online you will need a User ID and Password to access our website. If you don’t have a User ID please create one by visiting  
https://www.PHLY.com/myphly/newuser.aspx.
If you have a User ID, please login and click on “Online Bill Pay” and enter the necessary information to pay your bills.
Philadelphia Insurance Companies accepts electronic checks (a debit from your checking or savings account) as a method of payment.
Please allow 2 to 3 business days for your payment to post to your account. This service is offered free of charge. Please note that credit card
payments cannot be made online.

Recurring Payment
Customers that receive their bill directly (and not from their agent) can sign up for recurring payment via automatic withdrawals from a
checking, savings, or money market account for direct bill policies.
If you do not already have an account on PHLY.com you will need to create one by visiting https://www.PHLY.com/myphly/newuser.aspx.
Once logged in please refer to “Links for You” and click the “Recurring Payment Instructions” to learn how to enroll.  You can also click the
“Online Bill Pay” tab on the left hand side to enroll in Recurring Payment.




How to Create an Account on PHLY.com

1.   Go to https://www.PHLY.com/myphly/newuser.aspx
2.   Select the applicable BUTTON (insured or producer).
3.   Complete the information on the page:
     • You will CREATE your own USER NAME and
        PASSWORD.
     • The password must be at least 7 characters and
        contain one number, one lower case letter, and one
        capital letter.
4.   Click CONTINUE when done.
5.   On the next page, complete the PASSWORD RESET
     QUESTION. If you ever forget your password, we will
     ask you this security question and you will enter the
     answer you have selected.  
6.   Once you have received the page that states:
     “CONTINUE TO MY PHLY,” then you have successfully
     created the account.




                                                                                                                                               Ed. 101812



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         Making Things Easier for You!
             PHLY CUSTOMER SERVICE
             Did you know…                                                                               Claims
                • The Loss Assistance Hotline provides Management & Professional                              • Average policyholder first party automobile losses
                  Liability policyholders with two FREE HOURS of legal consultation                             settled in 10 days or less
                  with knowledgeable attorneys on any matter that could potentially                           • Same or next business day acknowledgements
                  result in a claim under a PHLY policy                                                         of newly reported and opened claims
                • You can review billing and payment history online                                           • Claims representation nationally with Commercial
                  For example: Payment verifications go to MyPHLY on PHLY.com                                   Liability Claims Examiner Niche expertise
                • You can pull up and print your invoices and policy documents online                         • 24/7 claims service. Staff efficiencies with paperless
                • You can update your profile online                                                            and industry leading systems
                  For example: Billing address or contact information changes                                 • Staff of Subrogation and Recovery Examiners exclusively
                • We offer live help within seconds: No complicated phone systems                               dedicated to recovery efforts for policyholder paid losses
                • 94.4% of our policyholders would refer us to prospective customers*                         • Experienced, consistent staff and department structure
                • We provide 48 hour turnaround time on small business quotes and
                  policy issuance in less than 10 days                                                   Risk Management Services
                • We provide interest free installments for accounts that generate at                         • National network of in-house risk management professionals
                  least $2,000 in premium                                                                       providing direct support to policyholders
                                                                                                              • Product specific web-based risk management solutions
             Frequently Asked Questions                                                                         through PHLY.com
             How can I get information about my insurance?                                                    • Interactive Driver Training online courses and examination at
                                                                                                                no additional charge
             There are 5 different ways to contact Customer Service
                                                                                                              • Regular e-flyer communications on relevant risk management issues
                • Customer Service 877.438.7459
                                                                                                              • Strategic partnerships with best-in-class vendors for discounted
                • Customer Service Fax 866.847.4046
                                                                                                                MVR checks, abuse training, GPS, and many more
                • Customer Service E-mail: custserv@phly.com
                • Customer Service online chat                                                           Automatically included on most accounts
                • PHLY.com – “Contact Us”                                                                PHLY Bell Endorsement - Includes $50,000 limits each for Business
             When can I contact Customer Service?                                                        Travel Accident Benefit, Donation Assurance, Emergency Real
             Customer Service is available Monday - Friday from                                          Estate Consulting Fee, Identity Theft Expense, Image Restoration and
             8:30 a.m. - 8:00 p.m. EST                                                                   Counseling, Key Individual Replacement Expenses, Kidnap Expense,
                                                                                                         Terrorism Travel Reimbursement, Workplace Violence Counseling.
             What forms of payment does PHLY accept?                                                     $25,000 limits for each Conference Cancellation, Fundraising Event
             PHLY accepts 3 forms of payment:                                                            Blackout, Political Unrest ($5,000 per employee), Temporary Meeting
                • Check sent to the lock box                                                             Space Reimbursement, and $1,500 Travel Delay Reimbursement.
                • Check by phone payments through our IVR
                   (877.438.7459 – Option 1), website, or                                                Honors, Awards, and Ratings
                   contact center representatives                                                             • America’s Top 150 Workplaces
                • Credit card payments through our live contact center                                        • Best Places to Work in Insurance (4th consecutive year)
                   representatives (Visa, MasterCard, and American Express)                                   • Stevie Awards
                                                                                                              • ACE Awards
                                                                                                              • Top Workplaces in Philadelphia
                                                                                                              • Ward’s Top 50 (13th consecutive year)
                                                                                                              • National Underwriter Top 100 Insurance Groups
                                                                                                                (Tokio Marine) #29
                                                                                                              • National Underwriter Top 100 Insurance
                                                                                                                Companies #41



         Philadelphia Insurance Companies is the marketing name for the insurance company subsidiaries of the Philadelphia Consolidated Holding Corp., a Member of the Tokio Marine Group.
         Coverage(s) described may not be available in all states and are subject to Underwriting and certain coverage(s) may be provided by a surplus lines insurer. Surplus lines insurers do not
         generally participate in state guaranty funds and insureds are therefore not protected by such funds. © 2014 Philadelphia Consolidated Holding Corp., All Rights Reserved.




                                                                              PHLY.com
         *All statistics contained herein were generated via an internal company survey of active policy holders.




Ed. 101514

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        Risk Management Services
         PHLY RISK MANAGEMENT SERVICES
         Welcome to PHLY Risk Management Services Services, PHLY is familiar with the unique Risk Management Services programming needs of you or-
         ganization and has achieved superior results in this area. We are committed to delivering quality and timely loss prevention services and risk control
         products to your organization. Customer satisfaction through the delivery of these professional products to achieve measurable risk improvement
         results is our goal. We know the fulfillment of our Risk Management Services commitment is not complete until we deliver upon our promises.

         OUR MISSION: We welcome the opportunity to demonstrate how we can tailor a risk management program suitable to our customer’s needs.
         We are committed to providing our customers with improved communications, quicker implementation of loss control servicing initiatives, and
         specific benchmarking goals that help us quantify the true value of our services.

         OUR MOTTO: “Innovative Services Producing Optimum Results:” This mantra reflects our commitment to utilize innovative products and solutions
         to help our customers achieve measurable results. Customer satisfaction through the delivery of these quality professional products is our goal.
         We know the fulfillment of our Risk Management Services commitment is not complete until we deliver upon our promises.

         In order to gain full access to these resources and others, please take a moment to register on our website. If you already have an id to PHLY.com,
         please login to access Risk Management Services resources.

        Risk Management Resources
        • IntelliCorp Records, Inc.
        • Accountants Resources
        • WEMED Loss Assistance Hotline
        • in2vate: Web-enabled EPLI (employment practices liability insurance) Risk Management Services

        Proprietary Risk Management Services
        • PHLY Risk Management Services E-flyers
        • Responding to Risk Management Services Recommendations

        Contact
        • For more information please contact: Customer Service




        800.873.4552
         IMPORTANT NOTICE - The information and suggestions presented by Philadelphia Indemnity Insurance Company in this e-brochure is for your consideration in your loss prevention efforts.
         They are not intended to be complete or definitive in identifying all hazards associated with your business, preventing workplace accidents, or complying with any safety related, or other, laws
         or regulations. You are encouraged to alter them to fit the specific hazards of your business and to have your legal counsel review all of your plans and company policies.

         Philadelphia Insurance Companies is the marketing name for the insurance company subsidiaries of the Philadelphia Consolidated Holding Corp., a Member of the Tokio Marine Group. Your insurance
         policy, and not the information contained in this document, forms the contract between you and your insurance company. If there is a discrepancy or conflict between the information contained herein
         and your policy, your policy takes precedence. All coverages are not available in all states due to state insurance regulations. Certain coverage(s) may be provided by a surplus lines insurer. Surplus




                                                                                    PHLY.com
         lines insurers do not generally participate in state guaranty funds and insureds are therefore not protected by such funds. | © 2013 Philadelphia Consolidated Holding Corp., All Rights Reserved.




Ed. 081413

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Philadelphia Indemnity Insurance Company




Commercial
Lines
Policy




THIS POLICY CONSISTS OF:

–   DECLARATIONS
–   COMMON POLICY CONDITIONS
–   ONE OR MORE COVERAGE PARTS. A COVERAGE PART CONSISTS OF:
•   ONE OR MORE COVERAGE FORMS
•   APPLICABLE FORMS AND ENDORSEMENTS



                                                                   BJP-190-1 (12-98)

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  IN WITNESS WHEREOF, we have caused this policy to be executed and attested, and, if required by state
  law, this policy shall not be valid unless signed by our authorized representative.




               President & CEO                                                          Secretary




                                                                                                          BJP-190-1 (12-98)

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       Risk Management Services
        POLICYHOLDER NOTICE (LOSS ASSISTANCE HOTLINE)
        As a free service benefit to its policyholders, PHLY has partnered with nationally recognized law firm Wilson,
        Elser, Moskowitz, Edelman & Dicker LLP (WEMED), to offer a toll-free Loss Assistance Hotline. The telephone
        number is 877.742.2201 or you can contact a WEMED attorney online at: apps.wilsonelser.com/pic/. This
        hotline provides you with 2 free hours of legal consultation with a knowledgeable attorney on any matter that
        you feel could result in a Claim under your professional or management liability policy. The Loss Assistance Hotline
        is NOT a Claim reporting service. To report a Claim, follow the Claim reporting instructions in your policy and
        also notify your insurance agent. If you have any questions concerning the Loss Assistance Hotline, please contact
        us at 800.759.4961 x2967.




            800.873.4552
            Philadelphia Insurance Companies is the marketing name for the insurance company subsidiaries of the Philadelphia Consolidated Holding Corp., a Member of the Tokio Marine Group. Your insurance
            policy, and not the information contained in this document, forms the contract between you and your insurance company. If there is a discrepancy or conflict between the information contained
            herein and your policy, your policy takes precedence. All coverages are not available in all states due to state insurance regulations. Certain coverage(s) may be provided by a surplus lines insurer.




                                                                                     PHLY.com
            Surplus lines insurers do not generally participate in state guaranty funds and insureds are therefore not protected by such funds. | © 2013 Philadelphia Insurance Companies, All Rights Reserved.




Ed.081513

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                                                                                                             PP 20 15 (06/15)

         PHILADELPHIA INSURANCE COMPANIES PRIVACY POLICY NOTICE
                                     Philadelphia Indemnity Insurance Company
          _________________________________________________________________________________

The Philadelphia Insurance Companies value your privacy and we are committed to protecting personal information that
we collect during the course of our business relationship with you. The collection, use and disclosure of certain nonpublic
personal information are regulated by law.

This notice is for your information only and requires no action on your part. It will inform you about the types of information
that we collect and how it may be used or disclosed. This does not reflect a change in the way we do business or handle
your information.

Information We Collect:

We collect personal information about you from the following sources:
•       Applications or other forms such as claims forms or underwriting questionnaires completed by you;
•       Information about your transactions with us, our affiliates or others; and
•       Depending on the type of transaction you are conducting with us, information may be collected from
        consumer reporting agencies, health care providers, employers and other third parties.

Information We Disclose:

We will only disclose the information described above to our affiliates and non-affiliated third parties, as permitted by
law, and when necessary to conduct our normal business activities.

For example, we may make disclosures to the following types of third parties:
•      Your agent or broker (producer);
•      Parties who perform a business, professional or insurance functions for our company, including our reinsurance
•      companies;
•      Independent claims adjusters, investigators, attorneys, other insurers or medical care providers who need
       information to investigate, defend or settle a claim involving you;
•      Regulatory agencies in connection with the regulation of our business; and
•      Lienholders, mortgagees, lessors or other persons shown on our records as having a legal or beneficial interest
       in your policy.

We do not sell your information to others for marketing purposes. We do not disclose the personal information of persons
who have ceased to be our customers.

Protection of Information:

The Philadelphia Insurance Companies maintain physical, electronic and procedural safeguards that comply with state
and federal regulations to protect the confidentiality of your personal information. We also limit employee access to
personally identifiable information to those with a business reason for knowing such information.

Use of Cookies and Opt-Out:

We may place electronic “cookies” in the browser files of your computer when you access our website. Cookies are text
files placed on your computer to enable our systems to recognize your browser and so that we may tailor information on
our website to your interests. We or our third party service providers or business partners may place cookies on your
computer’s hard drive to enable us to match personal information that we maintain about you so that we are able to pre-
populate on-line forms with your information. We also use cookies to help us analyze traffic on our website to better
understand your interests. Although we do not use your non-public personal information for this purpose, you may opt-
out of cookies and advertising features through one of the available options including but not limited to Ads Settings in
Google.com or the Network Advertising Initiative (NAI) Consumer Opt-out. Opting out does not mean you will no longer
receive online advertising. It does mean that companies from which you opted out will no longer customize ads based on
your interests and web usage patterns using cookies.


How to Contact Us: Philadelphia Insurance Companies, One Bala Plaza, Suite 100, Bala Cynwyd, PA 19004
Attention: Chief Privacy Officer




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                                    Philadelphia Indemnity Insurance Company
                                       COMMON POLICY DECLARATIONS
Policy Number: PHSD1219592

Named Insured and Mailing Address:                                                                    Producer: 196
Rush Commercial Construction, Inc.                                                                    BELL-ANDERSON AGENCY, INC.
6622 Wollochet Dr NW                                                                                  600 SW 39th St Ste 200
Gig Harbor, WA 98335-8325                                                                             Renton, WA 98057


                                                                                                      (425)291-5200
Policy Period From: 02/07/2017 To: 12/31/2017                                                         at 12:01 A.M. Standard Time at your mailing
                                                                                                      address shown above.

Business Description: For Profit Organization


IN RETURN FOR THE PAYMENT OF THE PREMIUM, AND SUBJECT TO ALL THE TERMS OF THIS
POLICY, W E AGREE WITH YOU TO PROVIDE THE INSURANCE AS STATED IN THIS POLICY.
THIS POLICY CONSISTS OF THE FOLLOWING COVERAGE PARTS FOR W HICH A PREMIUM IS
INDICATED. THIS PREMIUM MAY BE SUBJECT TO ADJUSTMENT.
                                                                        PREMIUM
Commercial Property Coverage Part
Commercial General Liability Coverage Part
Commercial Crime Coverage Part
Commercial Inland Marine Coverage Part
Commercial Auto Coverage Part
Businessowners
Workers Compensation
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Private Company Protection
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FORM (S) AND ENDORSEMENT (S) MADE A PART OF THIS POLICY AT THE TIME OF ISSUE
Refer To Forms Schedule

*Omits applicable Forms and Endorsements if shown in specific Coverage Part/Coverage Form Declarations



CPD- PIIC (06/14)
                                                       Secretary                                                   President and CEO
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Philadelphia Indemnity Insurance Company

Form Schedule – Policy
Policy Number: PHSD1219592

Forms and Endorsements applying to this Coverage Part and made a part of this
policy at time of issue:
Form                      Edition Description
Recurring Payment Flyer   1212    Recurring Payment Flyer
CSNotice-1                1014    Making Things Easier
BJP-190-1                 1298    Commercial Lines Policy Jacket
LAH-Notice                0813    Policyholder Notice (Loss Assistance Hotline)
PP2015                    0615    Privacy Policy Notice
CPD-PIIC                  0614    Common Policy Declarations
Named Insured Sched       0100    Named Insured Schedule




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          Philadelphia Indemnity Insurance Company

          Named Insured Schedule
          Policy Number: PHSD1219592



          Rush Design, Inc.

          Rush Residential, Inc.

          Rush Development Co., Inc.

          Rush Properties, Inc.

          Sound Tools & Equipment, Inc.




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                                                                                                        PI-PRD-1 (09/02)




                                    Private Company Protection Plus
                         DIRECTORS AND OFFICERS & PRIVATE COMPANY LIABILITY
                             EMPLOYMENT PRACTICES LIABILITY INSURANCE
                                   FIDUCIARY LIABILITY INSURANCE
                               Philadelphia Indemnity Insurance Company

Policy Number: PHSD1219592
                                                  DECLARATIONS

NOTICE: EXCEPT TO SUCH EXTENT AS MAY OTHERWISE BE PROVIDED HEREIN, THIS POLICY IS WRITTEN ON
A CLAIMS MADE BASIS AND COVERS ONLY THOSE CLAIMS FIRST MADE DURING THE POLICY PERIOD AND R
REPORTED IN WRITING TO THE INSURER PURSUANT TO THE TERMS HEREIN. THE AMOUNTS INCURRED FO
DEFENSE COST SHALL BE APPLIED AGAINST THE RETENTION.

Item   1.     Private Company Name and Address:
              Rush Commercial Construction, Inc.
              6622 Wollochet Dr NW
              Gig Harbor, WA 98335-8325



              Internet Address: www. n/a

Item   2.     Policy Period:         From: 02/07/2017                 To: 12/31/2017
                                     (12:01 A.M. local time at the address shown in Item 1.)


Item   3.     Limits of Liability:
       (A)    Part 1, D&O Liability:          $                 each Policy Period.
       (B)    Part 2, Employment Practices:   $       1,000,000 each Policy Period.
       (C)    Part 3, Fiduciary Liability:    $                 each Policy Period.
       (D)    Aggregate, All Parts:           $       1,000,000 each Policy Period.


Item   4.     Retention:
       (A)    Part 1, D&O Liability:     $                 for each Claim under Insuring Agreement B & C.
                      Private Offering: $                  for each Claim under Insuring Agreement B & C.
       (B)    Part 2, Employment Practices: $             10,000 for each Claim.
       (C)    Part 3, Fiduciary Liability:  $                      for each Claim.


Item   5.     Prior and Pending Date: Part 1 No Date Applies   Part 2       02/07/2017 Part 3 No Date Applies



Item   6.     Premium:               Part 1                      Part 2 $                      Part 3

                                                               Total Premium: $

Item   7.     Endorsements: SEE SCHEDULE



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                                                                                                              PI-PRD-1 (09/02)

In witness whereof, the Insurer issuing this Policy has caused this Policy to be signed by its authorized officers, but it shall
not be valid unless also signed by the duly authorized representative of the Insurer.




                                                   ________________________                   __________________


Authorized Representative                          Countersignature                          Countersignature Date




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Philadelphia Indemnity Insurance Company

Form Schedule – Private Company Protection Plan
Policy Number: PHSD1219592

Forms and Endorsements applying to this Coverage Part and made a part of this
policy at time of issue:
Form                   Edition Description
PI-PRD-1                0902   Private Company Protection Plus Declarations
PI-BELL-1               1109   Bell Endorsement
PI-CME-1                1009   Crisis Management Enhancement Endorsement
PI-PRD-2                0902   Private Company Protection Plus Policy
PI-PRD-26               0902   Punitive, Exemplary, Multiple Damage Exclusion
PI-PRD-72               0506   Business Advantage Pro-Pak Elite Coverage
PI-PRD-75               1203   Amendment of Exclusions
PI-PRD-77               0104   Amendment of Cancellation Provision
PI-MANU-1               0100   Immigration Claim Coverage
PI-MANU-1               0100   Defense only Wage & Hour Carveback with Retention
PI-MANU-1               0100   Amended Definition of Employment Practice Act (Social Media Enhancement)




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                                                                                          PI-BELL-1 (11/09)


     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                     BELL ENDORSEMENT




Unless otherwise stated herein, the terms, conditions, exclusions and other limitations set forth in this
endorsement are solely applicable to coverage afforded by this endorsement, and the policy is amended
as follows:

I.     SCHEDULE OF ADDITIONAL COVERAGES AND LIMITS

       The following is a summary of Limits of Liability or Limits of Insurance and/or additional coverages
       provided by this endorsement. This endorsement is subject to the provisions of the policy to which
       it is attached.

       COVERAGE                                                         LIMITS OF INSURANCE

       Business Travel Accident Benefit                                         $50,000

       Conference Cancellation                                                  $25,000

       Donation Assurance                                                       $50,000

       Emergency Real Estate Consulting Fee                                     $50,000

       Fundraising Event Blackout                                               $25,000

       Identity Theft Expense                                                   $50,000

       Image Restoration and Counseling                                         $50,000

       Key Individual Replacement Expenses                                      $50,000

       Kidnap Expense                                                           $50,000

       Political Unrest                                                         $5,000 per employee:
                                                                                $25,000 policy limit

       Temporary Meeting Space Reimbursement                                    $25,000

       Terrorism Travel Reimbursement                                           $50,000

       Travel Delay Reimbursement                                               $1,500

       Workplace Violence Counseling                                            $50,000




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                                                                                          PI-BELL-1 (11/09)


II.    CONDITIONS

       A. Applicability of Coverage

          Coverage provided by your policy and any endorsements attached thereto is amended by this
          endorsement where applicable.

       B. Limits of Liability or Limits of Insurance

          1. When coverage is provided by this endorsement and another coverage form or
             endorsement attached to this policy, the greater limits of liability or limits of insurance will
             apply. In no instance will multiple limits apply to coverages which may be duplicated within
             this policy. Additionally, if this policy and any other coverage part or policy issued to you by
             us, or any company affiliated with us, apply to the same occurrence, offense, wrongful act,
             accident or loss, the maximum limits of liability or limits of insurance under all such
             coverage parts or policies combined shall not exceed the highest applicable limits of liability
             or limits of insurance under any one coverage part or policy.

          2. Limits of liability or limits of insurance identified in Section I. SCHEDULE OF ADDITIONAL
             COVERAGES AND LIMITS above are not excess of, but are in addition to the applicable
             Limits of Liability or Limits of Insurance stated in the Declarations.

       C. Claim Expenses

          Coverages provided herein are not applicable to the generation of claim adjustment costs
          by you; such as fees you may incur by retaining a public adjuster or appraiser.

III.   ADDITIONAL COVERAGES

       A. Business Travel Accident Benefit

          We will pay a Business Travel Accident Benefit to the insured if a director or officer suffers
          injury or death while traveling on a common carrier for your business during the policy period.

          For the purpose of Business Travel Accident Benefit coverage, injury means:

          1. Physical damage to the body caused by violence, fracture, or an accident that results in
             loss of life not later than one hundred eighty (180) days after the policy expiration, the date
             of cancellation or the date of non-renewal;

          2. Accidental loss of limbs or multiple fingers;

          3. Total loss of sight, speech or hearing.

          The limit of insurance for this coverage is $50,000 per policy period for all insureds combined.
          No deductible applies to this coverage.

          The Business Travel Accident Benefit shall not be payable if the cause of the injury was:

          1. An intentional act by the insured;

          2. An act of suicide or attempted suicide;

          3. An act of war; or

          4.   A disease process.

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B. Conference Cancellation

   We will reimburse the insured for any business-related conference expenses, paid by the
   insured and not otherwise reimbursed, for a canceled conference that an employee was
   scheduled to attend. The cancellation must be due directly to a “natural catastrophe” or a
   “communicable disease” outbreak that forces the cancellation of the conference.

   With respect to a conference cancellation claim, it is further agreed as follows:

   1. The insured employee must have registered for the conference at least thirty (30) days prior
      to the cancellation; and

   2. The cancellation must be ordered by a local, state or federal Board of Health or other
      governmental authority having jurisdiction over the location of the conference.

   The limit of insurance for this coverage is $25,000 per policy period for all insureds combined.
   No deductible applies to this coverage.

C. Donation Assurance

   If the insured is a 501(c)(3) status non-profit organization as defined in the United States
   Internal Revenue Code, we will reimburse the insured for “failed donation claim(s).”

   With respect to any “failed donation claim,” it is further agreed as follows:

   1. The donor must not have been in bankruptcy, nor have filed for bankruptcy or
      reorganization in the past seven (7) years prior to the time said pledge was made to the
      insured;

   2. For non-cash donations, our payment of a “failed donation claim” shall be based on the fair
      market value of said non-cash donation at the time of the “failed donation claim”;

   3. In the case of unemployment or incapacitation of a natural person donor and as a condition
      of payment of the “failed donation claim”:

        a. Neither the natural person donor nor the insured shall have had reason to believe the
           donor would become unemployed or incapacitated subsequent to the donation date;
           and

        b. The donor shall be unemployed for at least sixty (60) days prior to a claim being
           submitted by the insured;

   4.   No coverage shall be afforded for a written pledge of funds or other measurable, tangible
        property to the insured dated prior to the policy period; and

   5.   A donation amount which is to be collected by the insured over more than a twelve (12)
        month period shall be deemed a single donation.

   The limit of insurance for this coverage is $50,000 per policy period for all insureds combined.
   No deductible applies to this coverage.

D. Emergency Real Estate Consulting Fee

   We will reimburse the insured any realtor’s fee or real estate consultant’s fee necessitated by
   the insured’s need to relocate due to the “unforeseeable destruction” of the insured’s “principal
   location” listed in the Declarations during the policy period. The limit of insurance for this

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      coverage is $50,000 per policy period for all insureds combined. No deductible applies to this
      coverage.

E. Fundraising Event Blackout

      We will reimburse the insured for “fundraising expenses” that are incurred due to the
      cancellation of a fundraising event caused by the lack of electric supply resulting in a power
      outage, provided the fundraising event is not re-scheduled. The fundraising event must have
      been planned at least thirty (30) days prior to the power outage. The limit of insurance for this
      coverage is $25,000 per policy period for all insureds combined. No deductible applies to this
      coverage.

F. Identity Theft Expense

      We will reimburse any present director or officer of the named insured for “identity theft
      expenses” incurred as the direct result of any “identity theft” first discovered and reported during
      the policy period; provided that it began to occur subsequent to the effective date of the
      insured’s first policy with us. The limit of insurance for this coverage is $50,000 per policy
      period for all insureds combined. No deductible applies to this coverage.

G. Image Restoration and Counseling

      We will reimburse the insured for expenses incurred for image restoration and counseling
      arising out of “improper acts” by any natural person.

      Covered expenses are limited to:

      1. The costs of rehabilitation and counseling for the accused natural person insured, provided
         the natural person insured is not ultimately found guilty of criminal conduct; this
         reimbursement to occur after acquittal of the natural person insured;

      2. The costs charged by a recruiter or expended on advertising, for replacing an officer as a
         result of “improper acts”; and

      3. The costs of restoring the named insured’s reputation and consumer confidence through
         image consulting.

      The limit of insurance for this coverage is $50,000 per policy period for all insureds combined.
      No deductible applies to this coverage.

H. Key Individual Replacement Expenses

      We will pay “key individual replacement expenses” if the Chief Executive Officer or Executive
      Director suffers an “injury” during the policy period which results in the loss of life during the
      policy period. The limit of insurance for this coverage is the lesser of $50,000 or ten (10) times
      the annual premium paid for this policy. No deductible applies to this coverage.

I.    Kidnap Expense

      We will pay on behalf of any director or officer of the insured, reasonable fees incurred as a
      result of the kidnapping of them or their spouse, “domestic partner,” parent or child during the
      policy period. Coverage will not apply to any kidnapping by or at the direction of any present or
      former family member of the victim.

      Reasonable fees will include:


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   1. Fees and costs of independent negotiators;

   2. Interest costs for any loan from a financial institution taken by you to pay a ransom demand
      or extortion threat;

   3. Travel costs and accommodations incurred by the named insured;

   4. Reward money paid to an informant which leads to the arrest and conviction of parties
      responsible for loss covered under this insurance; and

   5. Salary, commissions and other financial benefits paid by you to a director or officer. Such
      compensation applies at the level in effect on the date of the kidnap and ends upon the
      earliest of:

       a. Up to thirty (30) days after their release, if the director or officer has not yet returned to
          work;

       b. Discovery of their death;

       c. One hundred twenty (120) days after the last credible evidence following abduction that
          they are still alive; or

       d. Twelve (12) months after the date of the kidnapping.

   The limit of insurance for this coverage is $50,000 each policy period for all insureds combined.
   No deductible applies to this coverage.

J. Political Unrest Coverage

   We will reimburse any present director, officer, employee or volunteer of the named insured
   while traveling outside the United States of America for “emergency evacuation expenses” that
   are incurred as a result of an incident of “political unrest.” This “political unrest” must occur
   during the policy period. No coverage is granted for travel to countries in a state of “political
   unrest” at the time of departure of the travel. The limit of insurance for this coverage is $5,000
   per covered person, subject to a maximum of $25,000 per policy period for all insureds
   combined. No deductible applies to this coverage.

K. Temporary Meeting Space Reimbursement

   We will reimburse the insured for rental of meeting space which is necessitated by the
   temporary unavailability of the insured’s primary office space due to the failure of a climate
   control system, or leakage of a hot water heater during the policy period. Coverage will exist
   only for the renting of temporary meeting space required for meeting with parties who are not
   insured under this policy. The limit of insurance for this coverage is $25,000 per policy period
   for all insureds combined. No deductible applies to this coverage.

L. Terrorism Travel Reimbursement

   We will reimburse any present director or officer of the named insured in the event of a
   “certified act of terrorism” during the policy period which necessitates that he/she incurs
   “emergency travel expenses.” The limit of insurance for this coverage is $50,000 per policy
   period for all insureds combined. No deductible applies to this coverage.




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      M. Travel Delay Reimbursement

          We will reimburse any present director or officer of the named insured for any “non-
          reimbursable expenses” they incur as a result of the cancellation of any regularly scheduled
          business travel on a common carrier. The limit of insurance for this coverage is $1,500 per
          policy period for all insureds combined. A seventy-two (72) hour waiting period deductible
          applies to this coverage.

      N. Workplace Violence Counseling

          We will reimburse the insured for emotional counseling expenses incurred directly as a result of
          a “workplace violence” incident at any of the insured’s premises during the policy period. The
          emotional counseling expenses incurred must have been for:

          1.   Your employees who were victims of, or witnesses to the “workplace violence”;

          2. The spouse, “domestic partner,” parents or children of your employees who were victims of,
             or witnesses to the “workplace violence”; and

          3.   Any other person or persons who directly witnessed the “workplace violence” incident.

          The limit of insurance for this coverage is $50,000 per policy period for all insureds combined.
          No deductible applies to this coverage.

IV.   DEFINITIONS

      For the purpose of this endorsement, the following definitions apply:

      A. “Certified act of terrorism” means any act so defined under the Terrorism Risk Insurance Act,
         and its amendments or extensions.

      B. “Communicable disease” means an illness, sickness, condition or an interruption or disorder of
         body functions, systems or organs that is transmissible by an infection or a contagion directly or
         indirectly through human contact, or contact with human fluids, waste, or similar agent, such as,
         but not limited to Meningitis, Measles or Legionnaire’s Disease.

      C. “Domestic partner” means any person who qualifies as a domestic partner under the provisions
         of any federal, state or local statute or regulation, or under the terms and provisions of any
         employee benefit or other program established by the named insured.

      D. “Emergency evacuation expenses” mean:

          1. Additional lodging expenses;

          2. Additional transportation costs;

          3. The cost of obtaining replacements of lost or stolen travel documents necessary for
             evacuation from the area of “political unrest”; and

          4. Translation services, message transmittals and other communication expenses.

          provided that these expenses are not otherwise reimbursable.

      E. “Emergency travel expenses” mean:




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     1. Hotel expenses incurred which directly result from the cancellation of a scheduled transport
        by a commercial transportation carrier, resulting directly from and within forty-eight (48)
        hours of a “certified act of terrorism”; and

     2. The increased amount incurred which may result from re-scheduling comparable transport,
        to replace a similarly scheduled transport canceled by a commercial transportation carrier
        in direct response to a “certified act of terrorism”;

     provided that these expenses are not otherwise reimbursable.

F. “Failed donation claim” means written notice to the insured during the policy period of:

     1. The bankruptcy or reorganization of any donor whereby such bankruptcy or reorganization
        prevents the donor from honoring a prior written pledge of funds or other measurable,
        tangible property to the insured; or

     2. The unemployment or incapacitation of a natural person donor preventing him/her from
        honoring a prior written pledge of funds or other measurable, tangible property to the
        insured.

G. “Fundraising expenses” mean deposits forfeited and other charges paid by you for catering
   services, property and equipment rentals and related transport, venue rentals, accommodations
   (including travel), and entertainment expenses less any deposits or other fees refunded or
   refundable to you.

H. “Identity theft” means the act of knowingly transferring or using, without lawful authority, a
   means of identification of any director or officer (or spouse or “domestic partner” thereof) of the
   named insured with the intent to commit, or to aid or abet another to commit, any unlawful
   activity that constitutes a violation of federal law or a felony under any applicable state or local
   law.

I.   “Identity theft expenses” mean:

     1. Costs for notarizing affidavits or similar documents attesting to fraud required by financial
        institutions or similar credit grantors or credit agencies;

     2. Costs for certified mail to law enforcement agencies, credit agencies, financial institutions
        or similar credit grantors; and

     3. Loan application fees for re-applying for a loan or loans when the original application is
        rejected solely because the lender received incorrect credit information.

J. “Improper acts” means any actual or alleged act of:

     1. Sexual abuse;

     2. Sexual intimacy;

     3. Sexual molestation; or

     4. Sexual assault;

     committed by an insured against any natural person who is not an insured. Such “improper
     acts” must have been committed by the insured while in his or her capacity as an insured.

K. “Injury” whenever used in this endorsement, other than in Section III. A. Business Travel,

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    means any physical damage to the body caused by violence, fracture or an accident.

L. “Key individual replacement expenses” mean the following necessary expenses:

    1. Costs of advertising the employment position opening;

    2. Travel, lodging, meal and entertainment expenses incurred in interviewing job applicants
       for the employment position opening; and

    3. Miscellaneous extra expenses incurred in finding, interviewing and negotiating with the job
       applicants, including, but not limited to, overtime pay, costs to verify the background and
       references of the applicants and legal expenses incurred to draw up an employment
       contract.

M. “Natural catastrophe” means hurricane, tornado, earthquake or flood.

N. “Non-reimbursable expenses” means the following travel-related expenses incurred after a
   seventy-two (72) hour waiting period, beginning from the time documented on the proof of
   cancellation, and for which your director or officer produces a receipt:

    1. Meals and lodging;

    2. Alternative transportation;

    3. Clothing and necessary toiletries; and

    4. Emergency prescription and non-prescription drug expenses.

O. “Political unrest” means:

    1. A short-term condition of disturbance, turmoil or agitation within a foreign country that
       poses imminent risks to the security of citizens of the United States;

    2. A long-term condition of disturbance, turmoil or agitation that makes a foreign country
       dangerous or unstable for citizens of the United States; or

    3. A condition of disturbance, turmoil or agitation in a foreign country that constrains the
       United States Government’s ability to assist citizens of the United States, due to the closure
       or inaccessibility of an embassy or consulate or because of a reduction of its staff

    for which either an alert or travel warning has been issued by the United States Department of
    State.

P. “Principal location” means the headquarters, home office or main location where most business
   is substantially conducted.

Q. “Unforeseeable destruction” means damage resulting from a “certified act of terrorism,” fire,
   collision or collapse which renders all of the insured’s “principal locations” completely unusable.

R. “Workplace violence” means any intentional use of or threat to use deadly force by any person
   with intent to cause harm and that results in bodily “injury” or death of any person while on the
   insured’s premises.




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     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


           CRISIS MANAGEMENT ENHANCEMENT ENDORSEMENT

Unless otherwise stated herein, the terms, conditions, exclusions and other limitations set forth in this
endorsement are solely applicable to coverage afforded by this endorsement, and the policy is amended
as follows:

Solely for the purpose of this endorsement: 1) The words “you” and “your” refer to the Named Insured
shown in the Declarations, and any other person or organization qualifying as a Named Insured under
this policy. 2) The words “we,” “us” and “our” refer to the company providing this insurance.

I.     SCHEDULE OF ADDITIONAL COVERAGE AND LIMITS

       The following is the Limit of Liability provided by this endorsement. This endorsement is subject to
       the provisions of the policy to which it is attached.

        Crisis Management Expense                                                                  $25,000

II.    CONDITIONS

       A. Applicability of Coverage

           Coverage provided by your policy and any endorsements attached thereto is amended by this
           endorsement where applicable. All other terms and conditions of the policy or coverage part to
           which this endorsement is attached remain unchanged.

       B. Limits of Liability or Limits of Insurance

           When coverage is provided by this endorsement and any other coverage form or endorsement
           attached to this policy, we will pay only for the amount of covered loss or damage in excess of
           the amount due from that other insurance, whether you can collect on it or not. But we will not
           pay more than the applicable Limit of Liability or Limit of Insurance.

       C. Claim Expenses

           Coverages provided herein are not applicable to the generation of claim adjustment costs by
           you; such as fees you may incur by retaining a public adjuster or appraiser.

III.   ADDITIONAL COVERAGES

       A. We will reimburse you for “crisis management emergency response expenses” incurred
          because of an “incident” giving rise to a “crisis” to which this insurance applies. The amount of
          such reimbursement is limited as described in Section II. CONDITIONS, B. Limits of Liability
          or Limits of Insurance. No other obligation or liability to pay sums or perform acts or services
          is covered.

       B. We will reimburse only those “crisis management emergency response expenses” which are
          incurred during the policy period as shown in the Declarations of the policy to which this
          coverage is attached and reported to us within six (6) months of the date the “crisis” was
          initiated.



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IV.   DEFINITIONS

      A. “Crisis” means the public announcement that an “incident” occurred on your premises or at an
         event sponsored by you.

      B. “Crisis management emergency response expenses” mean those expenses incurred for
         services provided by a “crisis management firm.” However, “crisis management emergency
         response expenses” shall not include compensation, fees, benefits, overhead, charges or
         expenses of any insured or any of your employees, nor shall “crisis management emergency
         response expenses” include any expenses that are payable on your behalf or reimbursable to
         you under any other valid and collectible insurance.

      C. “Crisis management firm” means any service provider you hire that is acceptable to us. Our
         consent will not be unreasonably withheld.

      D. “Incident” means an accident or other event, including the accidental discharge of pollutants,
         resulting in death or serious bodily injury to three or more persons.

      E. “Serious bodily injury” means any injury to a person that creates a substantial risk of death,
         serious permanent disfigurement, or protracted loss or impairment of the function of any bodily
         member or organ.




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                           PRIVATE COMPANY PROTECTION PLUS
                           Directors and Officers & Private Company Liability Insurance
                                     Employment Practices Liability Insurance
                                           Fiduciary Liability Insurance

In consideration of the premium paid and in reliance upon all statements made and information furnished
to the Underwriter, including all statements made in the Application, the Underwriter agrees to provide
coverage as shown in the Declarations and described as follows:

                                                 PART 1
                                DIRECTORS & OFFICERS LIABILITY INSURANCE

(To be read in conjunction with the Common Policy Definitions, Exclusions and Conditions Sections, Part 4, 5, 6 below)



I.        INSURING AGREEMENTS

          A.        INDIVIDUAL LIABILITY COVERAGE

                    The Underwriter shall pay on behalf of the Individual Insured, Loss from Claims made
                    against Individual Insureds during the Policy Period (or, if applicable, during the
                    Extended Reporting Period), and reported to the Underwriter pursuant to the terms of
                    this Policy, for D&O Wrongful Acts, except to the extent the Private Company has
                    indemnified the Individual Insured for such Loss.

          B.        PRIVATE COMPANY INDEMNITY COVERAGE

                    The Underwriter shall pay on behalf of the Private Company, Loss from Claims made
                    against Individual Insureds during the Policy Period (or, if applicable, during the
                    Extended Reporting Period), and reported to the Underwriter pursuant to the terms of
                    this Policy, for D&O Wrongful Acts, if the Private Company has indemnified such
                    Individual Insureds for such Loss.

          C.        PRIVATE COMPANY LIABILITY COVERAGE

                    The Underwriter shall pay on behalf of the Private Company, Loss from Claims made
                    against the Private Company during the Policy Period (or, if applicable, during the
                    Extended Reporting Period), and reported to the Underwriter pursuant to the terms of
                    this Policy, for a D&O Wrongful Act.

II.       DEFINITIONS

          A.        D&O Wrongful Act means any actual or alleged:

                    1. act, error, omission, misstatement, misleading statement, neglect, or breach of duty
                       committed or attempted by an Individual Insured in his/her capacity as an
                       Individual Insured; or

                    2. act, error, omission, misstatement, misleading statement, neglect, or breach of duty
                       committed or attempted by the Private Company; or

                    3. act, error, omission, misstatement, misleading statement, neglect, or breach of duty
                       committed or attempted by an Individual Insured arising out of serving in his/her
                       capacity as a director, officer, governor or trustee of an Outside Entity, but only:




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                        a. if such service is at the written request or direction of the Private Company;
                           and

                        b. if, at the time such service began, the Individual Insured did not know or
                           could not have reasonably foreseen that such act, error, omission,
                           misstatement, misleading statement, neglect, or breach of duty could lead to
                           a Claim under this Policy.

        B.      Outside Entity means:

                1. any not-for-profit entity described in section 501(c)(3) of the Internal Revenue Code
                   of 1986 (as amended); or

                2. any other entity listed as an Outside Entity in an endorsement to this Policy.

III.    EXCLUSIONS

        The Underwriter shall not be liable under this Part 1 to make any payment for Loss in
        connection with any Claim made against the Private Company under Insuring Agreement C:

        A. arising out of, based upon or attributable to any actual or alleged plagiarism, infringement of
           copyright, patent, trademark, trade name, trade dress, service mark, title or slogan, piracy or
           misappropriation of ideas or trade secrets;

        B. arising out of, based upon or attributable to any actual or alleged price fixing, restraint of
           trade, monopolization, unfair competition, or violation of the Federal Trade Commission Act,
           the Sherman Anti-Trust Act, the Clayton Act, the Robinson-Patman Act, the Hart-Scott-
           Rodino Anti-Trust Improvement Act or any other similar federal, state, or local statutory
           provision or common law anywhere in the world;

        C. for any actual or alleged liability under any written or oral contract or agreement; however,
           this exclusion does not apply to any of the following:

          1. liability of the Private Company which would have attached even in the absence of such
             contract or agreement; or

          2. Defense Costs.

        D. arising out of, based upon or attributable to any failure to comply with any law concerning
           workers compensation, unemployment insurance, social security, disability benefits or any
           similar laws;

        E. for any actual or alleged violation of any of the responsibilities, obligations, or duties imposed
           by ERISA, the National Labor Relations Act (including the Labor Management Relations Act
           of 1947), Fair Labor Standards Act, Occupational Safety and Health Act, Consolidated
           Omnibus Budget Reconciliation Act of 1985, Worker Adjustment and Retraining Notification
           Act; or any amendments to or rules, regulations or orders promulgated pursuant to these
           laws, or similar provisions of any federal, state or local statutory or common law;

        F. for any actual or alleged malfunction of any product or failure of any product to perform in any
           manner as a result of any defect, deficiency, inadequacy or dangerous condition in such
           product or in its design or manufacture;

        G. arising out of, based upon or attributable to an Employment Practices Act or a Fiduciary
           Liability Act.



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IV. PRESUMPTIVE INDEMNIFICATION

     If the Private Company is permitted or required by common or statutory law, but fails to indemnify
     the Individual Insured for Loss (except by reason of its financial insolvency), any payment by the
     Underwriter of such Loss shall be subject to the Insuring Agreement C Retention Amount set forth
     in Item 4.(A) of the Declarations. The charter, by-laws, shareholder and board of director’s resolutions
     of the Private Company shall be deemed to provide indemnification for such Loss to the fullest
     extent permitted by law.


                                              PART 2
                               EMPLOYMENT PRACTICES LIABILITY INSURANCE

(To be read in conjunction with the Common Policy Definitions, Exclusions and Conditions Sections, Part 4, 5, 6 below)

I.   INSURING AGREEMENT

     The Underwriter shall pay on behalf of the Insured, Loss from Claims made against the Insured
     during the Policy Period (or, if applicable, the Extended Reporting Period), and reported to the
     Underwriter pursuant to the terms of this Policy, for an Employment Practice Act.

II. DEFINITIONS

     A. Employment Practice Act means any actual or alleged:

            1. wrongful dismissal, discharge or termination of employment;
            2. breach of a written or oral employment contract or implied employment contract;
            3. employment related misrepresentation;
            4. wrongful failure to promote;
            5. violation of employment discrimination laws (including harassment);
            6. wrongful deprivation of a career opportunity;
            7. employment related wrongful discipline;
            8. negligent employee evaluation;
            9. employment related invasion of privacy;
            10. employment related defamation (including libel and slander);
            11. sexual or workplace harassment of any kind;
            12. constructive discharge of employment;
            13. employment related Retaliation;
            14. employment related humiliation;
            15. wrongful demotion;
            16. negligent reassignment;
            17. violation of any federal, state or local civil rights laws;
          and committed or attempted by an Individual Insured in his/her capacity as an Individual
          Insured or by the Private Company.

          Solely with respect to any Claim brought by or on behalf of any Third Party, Employment
          Practice Act means any actual or alleged wrongful failure to employ, discrimination, sexual


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      harassment or violation of such Third Party’s civil rights in relation to such wrongful failure to
      employ, discrimination or sexual harassment, whether direct, indirect, or unintentional, committed
      by an Individual Insured in his/her capacity as an Individual Insured or by the Private
      Company.

   B. Retaliation means retaliatory treatment against an Individual Insured on account of such
      individual:

               1. exercising his or her rights under law, including but not limited to rights under any
                  workers compensation laws, the Family and Medical Leave Act, or the Americans
                  with Disabilities Act;

               2. refusing to violate any law;

               3. having assisted or testified in or cooperated with a proceeding or investigation
                  regarding alleged violations of law by the Insured;

               4. disclosing in writing to a superior or to any governmental agency any alleged
                  violations of law;

               5. filing any claim against the Insured under the Federal False Claims Act or any other
                  similar “whistle blower” federal, state, or local law.

   C. Third Party means any natural person who is an active or current customer, supplier, vendor,
      applicant, business invitee or other client of the Private Company.

III. EXCLUSIONS

  The Underwriter shall not be liable under this Part 2 to make any payment for Loss in connection
  with any Claim made against the Insured:

  A. arising out of, based upon or attributable to any failure to comply with any law concerning workers
     compensation, unemployment insurance, social security, disability benefits or any similar laws;
     however, this exclusion shall not apply to any Claim for Retaliation;

  B. for any actual or alleged violation of any of the responsibilities, obligations, or duties imposed by
     ERISA, the National Labor Relations Act (including the Labor Management Relations Act of
     1947), Fair Labor Standards Act (except the Equal Pay Act ), Occupational Safety and Health
     Act, Consolidated Omnibus Budget Reconciliation Act of 1985, Worker Adjustment and Retraining
     Notification Act; or any amendments to or rules, regulations or orders promulgated pursuant to
     these laws, or similar provisions of any federal, state or local statutory or common law; however,
     this exclusion shall not apply to any Claim for Retaliation;

  C. arising out of, based upon or attributable to a lockout, strike, picket line, replacement or other
     similar action resulting from labor disputes, labor negotiations, or collective bargaining
     agreements; provided that this exclusion will not apply to any Claim for Retaliation;

  D. arising out of, based upon or attributable to obligations or payments owed under (i) an express
     (written or verbal) contract of employment, (ii) an agreement to make payments in the event of the
     termination of employment, or (iii) an agreement to assume another’s liability; however, this
     exclusion does not apply to any of the following:

         1.       liability of the Private Company which would have attached even in the absence of
                  such contract or agreement; or




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            2.        Defense Costs;

     E. to the extent such Loss, other than Defense Costs, constitutes employment-related benefits,
        stock options, perquisites, deferred compensation, payment of insurance, or any other type of
        compensation earned by the claimant in the course of employment or the equivalent value
        thereof; however, this exclusion shall not apply to front pay or back pay;

     F. arising out of, based upon or attributable to a D&O Wrongful Act or a Fiduciary Liability Act.



                                                      PART 3
                                          FIDUCIARY LIABILITY INSURANCE

(To be read in conjunction with the Common Policy Definitions, Exclusions and Conditions Sections, Part 4, 5, 6 below)

I.   INSURING AGREEMENT

     The Underwriter shall pay on behalf of the Insured, Loss from Claims made against the Insured
     during the Policy Period (or, if applicable, the Extended Reporting Period), and reported to the
     Underwriter pursuant to the terms of this Policy, for a Fiduciary Liability Act.

II. DEFINITIONS

     A. Administration means: (i) giving counsel to Employees, beneficiaries or participants regarding
        any Benefit Plan, (ii) providing interpretations and handling records in connection with any
        Benefit Plan, or (iii) effecting enrollment, termination or cancellation of Employees or
        participants under any Benefit Plan.

     B. Benefit Plan means:

            1. any Welfare Benefit Plan which was, is now or becomes sponsored by the Private
               Company solely for the benefit of the Employees of the Private Company;

            2. any Pension Benefit Plan which was, on or prior to the effective date of this Policy,
               sponsored by the Private Company solely for the benefit of the Employees of the Private
               Company, provided that coverage was available in respect of such Pension Benefit Plan
               under any policy of which this Policy is a renewal or replacement and such Pension
               Benefit Plan has been reported in writing to the Underwriter as part of the Application;

            3. any Pension Benefit Plan created or acquired (through merger, consolidation or
               otherwise) during the Policy Period by the Insured solely for the benefit of the Employees
               of the Private Company, but only upon the condition that within 90 days after such
               creation or acquisition, the Insured shall have (i) provided written notice to the
               Underwriter of such newly created Pension Benefit Plan, and (ii) agreed to any additional
               terms and paid any additional premium required by the Underwriter in its sole discretion;

            4. any government-mandated benefit program for workers compensation, unemployment,
               social security or disability benefit for Employees of the Private Company.

            However, Benefit Plan does not include any multi-employer plan.

            Coverage for Benefit Plans which are sold, terminated or spun-off during or prior to the Policy
            Period shall apply only with respect to any Fiduciary Liability Act occurring prior to the date




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           of such sale or spin-off, or in the case of termination, prior to the final date of asset distribution
           of such Benefit Plan.

       C. Fiduciary Liability Act means any actual or alleged:

           1. breach by an Insured of the responsibilities, obligations or duties imposed upon fiduciaries
              of any Benefit Plan by ERISA; or

           2. negligent act, error or omission by an Insured solely in the Administration of any Benefit
              Plans.

       D. Pension Benefit Plan means any employee pension benefit plan, as defined in ERISA.

       E. Welfare Benefit Plan means any employee welfare benefit plan, as defined in ERISA.


III.   EXCLUSIONS

       The Underwriter shall not be liable under this Part 3 to make any payment for Loss in connection
       with any Claim made against the Insured:

       A. arising out of, based upon or attributable to the actual or alleged failure to collect or fund
          contributions owed to any Benefit Plan; or for the return or reversion to any employer of any
          contribution to or asset of a Benefit Plan;

       B. to the extent such Loss constitutes benefits due or to become due under a Benefit Plan or
          benefits which would be due under a Benefit Plan if its terms complied with all applicable law;
          however, this exclusion shall not apply to Defense Costs;

       C. arising out of, based upon or attributable to any failure or omission to effect and maintain
          insurance or bonding for the property or assets of any Benefit Plan;

       D. arising out of, based upon or attributable to any liability of others assumed by the Insured
          under any contract or agreement, other than any contract or agreement establishing a Benefit
          Plan.

       E. arising out of, based upon or attributable to any failure to comply with any law concerning
         workers compensation, unemployment insurance, social security, disability benefits or any
         similar laws;

       F. arising out of, based upon or attributable to an Employment Practices Act or a D&O
          Wrongful Act.




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                                     PART 4
                             COMMON POLICY DEFINITIONS

 A. Application means:

         1. the Application for this Policy, including any material submitted therewith; and

         2. the Application(s), including any material submitted therewith, for all previous policies
            issued by the Underwriter of which this Policy is a direct or indirect renewal or
            replacement,

         all of which shall be deemed a part of this Policy as if physically attached hereto.

 B. Claim means:

         1.      a written demand for monetary or non-monetary relief;

         2.      a judicial or civil proceeding commenced by the service of a complaint or similar
                 pleading;

         3.      a criminal proceeding commenced by a return of an indictment;

         4.      a formal administrative or regulatory proceeding commenced by the filing of a
                 notice of charges, formal investigation order or similar document, including, but
                 not limited to, proceedings before the Equal Employment Opportunity
                 Commission or any similar governmental agency;

         5.      an arbitration or mediation or other alternative dispute resolution proceeding if
                 the Insured is obligated to participate in such proceeding or if the Insured
                 agrees to participate in such proceeding, with the Underwriter’s written consent,
                 such consent not to be unreasonably withheld;

         6.      solely with respect to Part 3 (Fiduciary Liability Insurance), a written notice of
                 commencement of an investigation by the Department of Labor or the Pension
                 Benefit Guaranty Corporation;

                 against an Insured for a Wrongful Act, including any appeal therefrom; or

         7.      a written request received by an Insured to toll or waive a statute of limitations,
                 relating to a potential Claim as described above.

         However, Claim shall not include a labor or grievance proceeding pursuant to a
         collective bargaining agreement.

        A claim shall be considered made when an Insured first receives notice of the Claim.

 C. Damages means any monetary judgment (including any pre- and post- judgment Interest
    thereon) or monetary settlement, including the punitive, exemplary or multiple portion of any
    judgment (to the extent such damage is insurable under law of any jurisdiction which has a
    substantial relationship to the Insured or to the Claim seeking such damage and which is
    most favorable to the insurability of such damage).

 D. Defense Costs means:




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         1. any reasonable and necessary legal fees and expenses incurred in the defense of a
            Claim, whether by the Insured with the Underwriter’s consent or directly by the
            Underwriter, in the investigation, adjustment, defense and appeal of a Claim, except
            that Defense Costs shall not include:

                 a. any amounts incurred in defense of any Claim for which any other insurer
                    has a duty to defend, regardless of whether or not such other insurer
                    undertakes such duty; or

                 b. salaries, wages, overhead or benefit expenses associated with any Insured
                    except as specified in subparagraph 2. below; or

                 c.   salaries, wages, overhead or benefit expenses associated with employees of
                      the Underwriter; and

         2. a $250 per day per Individual Insured supplemental payment for the attendance at
            the request or with the consent of the Underwriter by such Individual Insured at
            hearings, trials or depositions. Such payment shall not exceed $5000 in the
            aggregate for all Individual Insureds in each Claim.

 E. Employee means any natural person whose labor or service is engaged by and directed by
    the Private Company, including part-time, seasonal, leased and temporary employees as
    well as volunteers, but only while that natural person is acting in his or her capacity as such.
    Employee shall not include any independent contractors, unless specifically scheduled by
    endorsement.

 F. ERISA means the Employee Retirement Income Security Act of 1974, as amended, any
    similar federal, state, local or common law, and any rules and regulations promulgated
    thereunder.

 G. Individual Insured means:

         1.      any individual who has been, now is or shall become a director, officer, governor,
                 trustee, Employee, volunteer, management committee member, or member of
                 the Board of Managers of the Private Company or, solely with respect to Part 3
                 (Fiduciary Liability Insurance), a director, officer, governor, trustee or Employee
                 of any Benefit Plan;

         2.      the lawful spouse of a director, officer, governor, trustee, or equivalent executive
                 of the Private Company, but only for actual or alleged Wrongful Acts of such
                 person for which such spouse may be liable as the spouse of such person;

         3.      the estate, heirs, legal representatives or assigns of a deceased director or
                 officer, or the legal representatives or assigns of such a person who is
                 incompetent, but only for Wrongful Acts of the person described in G. (1) or (4)
                 which, in the absence of such death or incompetence, would have been covered
                 by this Policy;

         4.      with respect to a Private Company chartered outside the United States of
                 America, any individual who has been, now is or shall become a person serving
                 in a position with such Private Company that is equivalent to any position
                 described in (1) above.

 H. Insured means the Private Company and Individual Insured.




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 I.   Interrelated Wrongful Act means: any causally connected Wrongful Act or any series of
      the same, similar or related Wrongful Acts.

 J.   Loss means:

         1.       Damages;

         2.       Defense Costs;

         but Loss does not include:

         1.       criminal or civil fines or penalties imposed by law except that solely with respect
                  to Part 3 (Fiduciary Liability Insurance) Loss includes fines or penalties imposed
                  under Section 502 (i) and (l) of ERISA; or

         2.       taxes; or

         3.       matters deemed uninsurable under the law to which this Policy shall be
                  construed; or

         4.       any amounts other than Defense Costs, which an Insured is obligated to pay as
                  a result of a Claim seeking relief or redress in any form other than monetary
                  damages; or

         5.       any costs other than Defense Costs associated with any accommodation
                  required pursuant to the American With Disabilities Act (removed Civil Rights Act
                  of 1964) and the rules or regulations promulgated thereunder, amendments
                  thereto, or similar provisions of any federal, state or local law or common law.

 K. Named Corporation means the first entity named in Item 1 of the Declarations Page.

 L. Private Company means:

         1. the Named Corporation, and

         2. any Subsidiary, and

         3. any entity or person as a debtor in possession within the meaning of the United States
            Bankruptcy Code or similar legal status under foreign law, and

         4. solely with respect to Part 3 (Fiduciary Liability Insurance), any Benefit Plan.

 M. Policy Period means the period of time specified in Item 2 of the Declarations Page.

 N. Private Offering means securities offered or issued by the Private Company which are
    exempt from registration with the United States Securities and Exchange Commission
    pursuant to Section 3 (b) of the Securities Act of 1933.

 O. Public Offering means securities issued by the Private Company for initial public offering,
    public sale, public solicitation or public distribution to the general public and which is subject
    to full registration with the United States Securities & Exchange Commission (SEC). Public
    Offering does not include a Private Offering.

 P. Run-Off Policy means a new policy of insurance offered by the Underwriter at the request
    of the Named Corporation in the event of a Transaction. The Run-Off Policy shall apply to



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     Claims made and reported to the Underwriter during the term of the Run-Off Policy, but
     only for Wrongful Acts occurring prior to the effective date of said Transaction.

  Q. Subsidiary means:

           1. a corporation of which the Named Corporation owns on or before the inception of
              the Policy Period more than 50% of the issued and outstanding voting stock either
              directly, or indirectly through one or more of its Subsidiaries or the right to elect,
              appoint or designate more than 50% of such entity’s board of directors, trustees, or
              managers and which is set forth in the Application;

           2. a corporation which becomes a Subsidiary during the Policy Period and whose
              assets total less than 25% of the total consolidated assets of the Named
              Corporation as of the inception date of this Policy Period. The Named
              Corporation shall provide the Underwriter with full particulars of the new
              Subsidiary before the end of the Policy Period;

           3. a corporation, which becomes a Subsidiary during the Policy Period other than a
              corporation described in paragraph 2. above, but only upon the condition that within
              90 days of its becoming a Subsidiary, the Named Corporation shall have provided
              the Underwriter with full particulars of the new Subsidiary and agreed to any
              additional premium and/or amendment of the provisions of this Policy required by the
              Underwriter relating to such new Subsidiary. Further, coverage as shall be
              afforded to the new Subsidiary is conditioned upon the Named Corporation paying
              when due any additional premium required by the Underwriter relating to such new
              Subsidiary.

               A corporation becomes a Subsidiary when the Named Corporation owns more
               than 50% of the issued and outstanding voting stock, either directly, or indirectly
               through one or more of its Subsidiaries. A corporation ceases to be a Subsidiary
               when the Named Corporation ceases to own more than 50% of the issued and
               outstanding voting stock, either directly, or indirectly through one or more of its
               Subsidiaries. Coverage for Claims made against any Subsidiary or the Individual
               Insureds of any Subsidiary shall only apply to Wrongful Acts of such Subsidiary
               or the Individual Insureds of such Subsidiary occurring after the effective time that
               such Subsidiary became a Subsidiary and prior to the time that such Subsidiary
               ceased to be a Subsidiary.

  R. Transaction shall mean:

       1     the Private Company merging into or consolidating with another entity such that the
             other entity is the surviving entity; or

       2. another entity, or person or group of entities and/or persons acting in concert acquiring
          securities or voting rights which result in ownership or voting control by the other
          entity(ies) or person(s) of more     than 50% of the outstanding securities representing
          the present right to vote for the election of directors of the Private Company; or

       3. Public Offering.

  S. Underwriter means the stock insurance company check marked on the Declarations Page of
     this Policy.

  T. Wrongful Act means:




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               1.       with respect to Part 1, any D&O Wrongful Act,
               2.       with respect to Part 2, any Employment Practice Act,
               3.       with respect to Part 3, any Fiduciary Liability Act.


                                           PART 5
                                   COMMON POLICY EXCLUSIONS

The Underwriter shall not be liable to make any payment for Loss in connection with any Claim made
against the Insured:

A.     arising out of, based upon or attributable to such Insured gaining any profit, remuneration or
       advantage to which they were not legally entitled; however, this exclusion shall only apply if a
       final and non-appealable judgment or adjudication establishes the Insured committed such act or
       omission;

B.     arising out of, based upon or attributable to any dishonest or fraudulent act or omission or any
       criminal act or omission by such Insured; however, this exclusion shall only apply if a final and
       non-appealable judgment or adjudication establishes the Insured committed such act or
       omission;

No Wrongful Act of any Insured shall be imputed to any other Individual Insured for purpose of
determining the applicability of Exclusions A and B above.

C.     arising out of, based upon or attributable to the discharge, dispersal, release or escape of smoke,
       vapors, soot, fumes, acids, alkalis, toxic chemicals, liquids or gases, waste materials, or other
       irritants, contaminants or pollutants into or upon land, the atmosphere or any water course or
       body of water, or any cost or expense arising out of any governmental direction or request to test
       for, monitor, clean up, remove, contain, treat, detoxify or neutralize any pollutants;

D.     arising out of, based upon or attributable to any bodily injury or property damage in connection
       with tobacco smoke, asbestos or mold including, without limitation, the use, exposure, presence,
       existence, detection, removal, elimination or avoidance of tobacco smoke, asbestos or mold to
       any persons and in any environment, building or structure;

E.     arising out of, based upon or attributable to the radioactive, toxic, or explosive properties of
       nuclear material which includes, but is not limited to, Source Material, Special Nuclear Material
       and Byproduct Material as those terms are defined in the Atomic Energy Act of 1954 and any
       amendments thereto and any similar provisions of any federal, state or local statutory or common
       law;

F.     arising out of, based upon or attributable to:

               1. any litigation or demand against an Insured pending on or before the respective
                  Prior and Pending Date set forth in Item 5 of the Declarations Page, or the same or
                  essentially the same facts as alleged in such prior litigation; or

               2. any Wrongful Act, fact, circumstance or situation which has been the subject of any
                  written notice given under any other policy of insurance prior to inception of this
                  Policy; or

               3. any Wrongful Act, fact, circumstance or situation of which, as of the respective Prior
                  and Pending Date set forth in Item 5 of the Declarations Page, the Insured had
                  knowledge and from which the Insured could reasonably expect a Claim to arise.




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G.     arising out of, based upon or attributable to the insolvency, conservatorship, receivership,
       bankruptcy or liquidation of any bank, banking firm, broker, dealer, investment company,
       investment banker, insurance company, or other entity of a similar nature; or the failure to pay or
       suspension of payment by any such entity;

H.     to the extent such Loss constitutes Defense Costs in a Claim directly or indirectly by, on behalf
       of, or for the benefit of any insurance carrier or bond carrier of the Insured or any affiliate of the
       Insured, regardless of in whose name such Claim is actually made;

I.     for any actual or alleged bodily injury, mental anguish, emotional distress, sickness, disease or
       death of any person, or damage to or destruction of any tangible property including Loss of use
       thereof; however, this exclusion shall not apply to mental anguish or emotional distress under
       Part 2 (Employment Practices Liability Insurance);

       J.        brought or maintained by or on behalf of, or in the right of, the Private Company except
       a derivative action Claim           by any person who is not a past or present director, officer,
       governor, trustee, equivalent executive, management committee member, or member of the
       Board of Managers of the Private Company and who brings or maintains the Claim without the
       solicitation, assistance or participation of such persons; provided, however that this exclusion
       shall not apply to a Claim brought or maintained by or on behalf of a bankruptcy or insolvency
       receiver, trustee, examiner, conservator, liquidator or rehabilitator for the Private Company, or
       any assignee of such receiver, trustee, examiner, conservator, liquidator or rehabilitator;

K.     brought or maintained by any Individual Insured except:

       1. any Claim in the form of a cross claim, third party claim or other claim for contribution or
          indemnity by an Individual Insured which is part of or results directly from a Claim which is
          not otherwise excluded by this Policy;

       2. a Claim for an Employment Practice Act or a Fiduciary Liability Act;

       3. a Claim for a D&O Wrongful Act brought or maintained by an Employee(s) who is not a
          past or present director, officer, governor, trustee, equivalent executive, management
          committee member, or member of the Board of Managers of the Private Company if such
          Claim for a D&O Wrongful Act is brought and maintained by such Employee without the
          assistance, participation or solicitation of any such persons.

L.     for a Wrongful Act committed or attempted by a Subsidiary, Benefit Plan or an Individual
       Insured of a Subsidiary or Benefit Plan before such entity or plan became an Insured or after
       the entity or plan ceased to be an Insured;

M.     for service by the Individual Insured in any position or capacity in any entity other than the
       Private Company, a Benefit Plan or an Outside Entity, even if the Private Company directed
       or requested the Individual Insured to serve in such other position or capacity;

N.   arising out of, based upon or attributable to a Public Offering or any violation of the Securities and
     Exchange Act of      1933, Securities and Exchange Act of 1934, Investment Act of 1940, any state
     “Blue Sky” securities law, or any other federal, state or local securities law or any amendments
     thereto or any rules or regulations promulgated thereunder or any other provision of statutory or
     common law used to impose liability in connection with the offer to sell or purchase, or the actual
     sale or purchase of securities; provided, however that this exclusion shall not apply:

     1. to any Private Offering, subject to terms and conditions of Part 6, Section XVII;




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        2. to any Claim made by any securityholder of the Private Company for the failure of the
           Insured to undertake or complete a Public Offering.


                                            PART 6
                                    COMMON POLICY CONDITIONS

I.      LIMITS OF LIABILITY

        Regardless of the number of Insureds involved, Claims made, the Underwriter’s liability under
        the Policy is limited as follows:

        A.      With respect to coverage under Part 1 of this Policy, the Underwriter’s maximum
                aggregate liability under Part 1 for all Loss on account of all Claims made during the
                Policy Period, whether covered under Insuring Agreement A, B or C, shall be the Limit
                of Liability for each Policy Period as set forth in Item 3.(A) of the Declarations.

        B.      With respect to coverage under Part 2 and Part 3 of this Policy, the Underwriter’s
                maximum aggregate liability for all Loss on account of all Claims made during the Policy
                Period shall be the Limit of Liability for each Policy Period as set forth in Item 3.(B) and
                3.(C), respectively, of the Declarations.

        C.      The Underwriter’s maximum aggregate liability for all Loss on account of all Claims first
                made during the Policy Period under all purchased Parts, combined, shall be the
                Aggregate Limit of Liability set forth in Item 3.(D) of the Declarations. The Limits of
                Liability set forth in Item 3.(A), 3.(B), and 3.(C), are sub-limits that do not increase the
                Underwriter’s maximum liability as set forth in Item 3.(D).

        D.      Defense Costs are part of the Limit of Liability specified in Item 3. of the Declarations.
                Payment by the Underwriter of Defense Costs incurred on account of any Claim shall
                serve to reduce the Limit of Liability stated in Item 3. of the Declarations. The
                Underwriter is not obligated to pay any Loss after the applicable Limit of Liability has
                been exhausted.

        E.      The Limit of Liability for any Extension Period, if applicable, shall be a part of and not in
                addition to the respective Limit of Liability applicable to the Policy Period.

II.     RETENTION CLAUSE

        The Underwriter shall only be liable for that portion of Loss arising from each Claim which is in
        excess of the respective Retention stated in Item 4. of the Declarations Page. Such Retention
        shall be borne by the Insured, uninsured and at their own risk, provided no Retention shall apply
        to Loss incurred by Individual Insureds for which the Private Company is not permitted or
        required to indemnify the Individual Insured or is financially unable to do so. A single Retention
        shall apply to Loss arising from all Claims alleging Interrelated Wrongful Acts.

III.    DEFENSE AND SETTLEMENT

        A.      The Insured and not the Underwriter shall have the responsibility to defend any Claim.
                However, the Insured shall have the right, as soon as practicable after a Claim is first
                made, to tender the defense of such Claim to the Underwriter. Upon written notice to
                the Underwriter of such election by the Insured and subject to all of the provisions of
                this Section III. DEFENSE AND SETTLEMENT, the Underwriter shall undertake and
                manage the defense of such Claim, even if such Claim is groundless, false or fraudulent.




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 B.    If the Insured is defending a Claim pursuant to A. above, the Underwriter shall advance
       Defense Costs prior to the final disposition of a Claim. The Insured shall elect counsel
       of its choice subject to approval by the Underwriter, such approval shall not be
       unreasonably withheld. The Underwriter shall not be liable for Loss admitted by the
       Insured without the Underwriter’s prior written consent, which shall not be
       unreasonably withheld. The Underwriter reserves the right, but not the duty, at any time
       to take over control of the defense of any Claim and with the consent of the Insured,
       settle any Claim as the Underwriter deems expedient.

 C.    The Underwriter is not obligated to pay any Loss after the Limit of Liability has been
       exhausted.

 D.    In the event that a Claim is made against the Insured, the Insured shall take reasonable
       measures to protect their interests.

 E.    If more than one Insured is involved in a Claim, the Underwriter may, in its sole
       discretion, appoint separate counsel for one or more of such Insureds if there is a
       material (actual or potential) conflict of interest among any such Insureds.

 F.    The Insured agrees to provide the Underwriter with all information, assistance and
       cooperation which the Underwriter reasonably requests and agree that in the event of a
       Claim the Insured will do nothing that may prejudice the Underwriter’s position or its
       potential rights of recovery.

 G.    If with respect to any Claim the Insured refuses to consent to the first settlement
       acceptable to the claimant which the Underwriter recommends to the Insured in writing,
       and elects to further contest the Claim, then the Underwriter’s liability for such Claim
       shall not exceed the amount for which the Claim could have been settled, including
       Defense Costs incurred, up to the date of such refusal, plus 50% of covered Loss in
       excess of such first settlement amount, it being a condition of this insurance that the
       remaining 50% of such Loss excess of the first settlement amount shall be borne by the
       Insured at their own risk and be uninsured. Notwithstanding the foregoing, this
       paragraph shall not apply until the settlement amount exceeds the Retention amount
       stated in Item 4. of the Declarations Page.

       In addition, if the Underwriter recommends a first settlement of a Claim within the
       Policy’s applicable Limit of Liability that is acceptable to the claimant, and the Insured
       consents to such settlement, then the Insured’s applicable Retention for such Claim
       shall be retroactively reduced by ten percent (10%). It shall be a condition to such
       reduction that the Insured must consent to the first settlement amount within thirty (30)
       days after the date the Underwriter recommends to the Insured such first settlement
       amount, or in the case of a first settlement amount which arises from a first settlement
       offer by the claimant, then within the time permitted by the claimant to accept such first
       settlement offer, but in all events no later than thirty (30) days after the Underwriter
       recommends to the Insured such first settlement offer. If the Insured does not consent
       to the first settlement within the time prescribed above, the applicable Retention amount
       shall remain the respective amount set forth in Item 4. of the Declarations Page, even if
       consent is given to a subsequent settlement.

 H.    ORDER OF PAYMENTS

       In the event of Loss arising from one or more Claims for which payment is otherwise
       due under Part 1 (Directors and Officers Liability Insurance) but which Loss in the
       aggregate exceeds the remaining available Limit of Liability for Part 1(Directors and
       Officers Liability Insurance), the Underwriter shall:



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                        1. first pay such Loss for which coverage is provided under Insuring
                           Agreement A (INDIVIDUAL LIABILITY COVERAGE); then

                        2. with respect to whatever remaining amount of the Limit of Liability after
                           payment of 1. above, pay such Loss for which coverage is provided under
                           any other Insuring Agreement of Part 1 (Directors and Officers Liability
                           Insurance).

IV.    NOTICE/CLAIM REPORTING PROVISIONS

       Notice hereunder shall be given in writing to the Underwriter at the following address:

       Philadelphia Insurance Companies
       One Bala Plaza, Suite 100
       Bala Cynwyd, Pennsylvania 19004
       Attention: Claims Department

       The date of mailing shall constitute the date that such notice was given and proof of mailing shall
       be sufficient proof of notice. Any notice to the Underwriter shall specify the Part(s) of this Policy
       under which the notice is being given and shall be treated as notice only under such specified
       Part(s).

       A.      In the event that a Claim is made against the Insured, the Insured shall, as a condition
               precedent to the obligations of the Underwriter under this Policy, give written notice to
               the Underwriter as soon as practicable after any of the directors, officers, governors,
               trustees, management committee members, or members of the Board of Members first
               become aware of such Claim, but, not later than 60 days after the expiration date of this
               Policy, Extension Period, or Run-Off Policy, if applicable.

       B.      If during this Policy Period an Insured first becomes aware of any circumstances which
               may subsequently give rise to a Claim being made against any Insured for a specific
               alleged Wrongful Act, and as soon as practicable thereafter, but before the expiration or
               cancellation of this Policy, gives written notice to the Underwriter of the circumstances
               and the reasons for anticipating such a Claim, with full particulars as to the Wrongful
               Act, dates and persons involved, then any Claim which is subsequently made against
               the Insured arising out of such Wrongful Act will be considered made during this Policy
               Period.

       C.      All Loss arising out of the same Wrongful Act and all Interrelated Wrongful Acts shall
               be deemed one Loss on account of a one Claim. Such Claim shall be deemed to be
               first made when the earliest of such Claims was first made or first deemed made
               pursuant to Clause B. hereinabove.

V.     CANCELLATION AND NON-RENEWAL

       A.      The Underwriter may not cancel this Policy except for failure to pay the premium when
               due, in which case the Underwriter shall mail written notice of cancellation to the Private
               Company at least ten (10) days prior to the effective date of cancellation.

       B.      The Private Company may cancel this Policy for itself and all other Insureds by
               surrender of this Policy to the Underwriter or any of its authorized agents or by mailing
               to the Underwriter written notice stating when thereafter the cancellation shall be
               effective. If the Private Company cancels, earned premium shall be computed in
               accordance with the customary short rate table procedure.



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         C.      The Underwriter shall not be required to renew this Policy; however, written notice of the
                 Underwriter’s intent to non-renew this Policy shall be mailed to the Private Company at
                 least sixty (60) days prior to expiration of the Policy Period.

VI.      REPRESENTATIONS AND SEVERABILITY

         A.      The Insured represent that the particulars and statements contained in the Application
                 are true and agree that (1) those particulars and statements are the basis of this Policy
                 and are to be considered as incorporated into and constituting a part of this Policy; (2)
                 those particulars and statements are material to the acceptance of the risk assumed by
                 the Underwriter under this Policy; and (3) this Policy is issued in reliance upon the truth
                 of such representations.

         B.      Except for material facts or circumstances known to the Individual Insured signing the
                 Application, no statement in the Application or knowledge or information possessed by
                 any Insured shall be imputed to any other Individual Insured for the purpose of
                 determining the availability of coverage.

VII.     SUBROGATION

         In the event of any payment under this Policy, the Underwriter shall be subrogated to the extent
         of such payment to all of the Insured’s rights of recovery. The Insured shall execute and deliver
         such instruments and papers and do whatever else is necessary to secure such rights and shall
         do nothing to prejudice or compromise such rights without the Underwriter’s express written
         consent.

VIII.    EXTENSION PERIOD

         A.      If the Underwriter refuses to renew this Policy the following will apply:

                 For no additional premium, the Underwriter will provide a 60 day extension of the
                 coverage granted under Part 1, 2, and 3 of this Policy for any Claim first made against
                 the Insured during the 60 days after the non-renewal date, but only with respect to any
                 Wrongful Act committed before such non-renewal date and otherwise covered by this
                 Policy (the “Automatic Extension”). This Automatic Extension shall not apply if the
                 Insured has purchased similar insurance from the Underwriter or any other insurer
                 covering such Claim.

                 Upon expiration of the Automatic Extension, the Private Company shall have the right,
                 upon payment of an additional 50%, 100%, 150% of this Policy’s annual premium to an
                 extension of the coverage granted by this Policy for any Claim first made against the
                 Insured during the twelve (12) months, twenty-four (24) months, or thirty-six (36) months,
                 respectively, after the expiration of the Automatic Extension, but only with respect to
                 Wrongful Acts committed before the non-renewal date and otherwise covered by this

                 Policy (the “Extension Period”); provided however, that the request for this Extension
                 Period must be made to the Underwriter in writing and payment of the additional
                 premium must be made prior to the expiration of the Automatic Extension. In the event
                 similar insurance is in force covering any Claims first made during this Extension Period,
                 coverage provided by this Policy shall be excess over any such other insurance.

         B.      If the Private Company cancels or does not renew this Policy or the Underwriter
                 cancels for nonpayment of premium the following will apply:




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                The Private Company shall have the right, upon payment of an additional 50%, 100%,
                or 150% of this Policy’s annual premium, to an extension of the cover granted under
                Parts 1, 2, and 3 of this Policy for any Claim first made against the Insured during the
                twelve (12) months, twenty-four (24) months, or thirty-six (36) months, respectively, after
                the date of such cancellation or non-renewal, but only with respect to any Wrongful Acts
                committed before the date of such cancellation or non-renewal and otherwise covered by
                this Policy (the “Extension Period”); provided however, that the request for this Extension
                Period must be made to the Underwriter in writing and payment of the additional
                premium must be made within 60 days following the date of such cancellation or non-
                renewal. In the event similar insurance is in force covering any Claims first made during
                this Extension Period, coverage provided by this Policy shall be excess over any such
                other insurance.

                If the Underwriter cancels for the non-payment of premium, the Parent Organization
                may purchase the Extension Period only after any earned premium due to the
                Underwriter is paid within 10 days after the date of cancellation or Policy expiration,
                whichever comes first.

        C.      All premium paid with respect to an Extension Period shall be deemed fully earned as of
                the first day of the Extension Period. For the purpose of this Section VIII, any change in
                premium or terms on renewal shall not constitute a refusal to renew.

IX.     CHANGES

        Except by written endorsement issued to the Insured forming a part of this Policy, nothing shall
        effect a change in or addition to the provisions of this Policy. Furthermore, under no
        circumstances shall the Underwriter be deemed to have waived or be estopped from asserting
        any right under this Policy, at law, or in equity respecting any Claim except as stated in writing by
        the Underwriter’s authorized Claims Department representative.

X.      ASSIGNMENT

        Assignment of interest in this Policy shall not bind the Underwriter until the Underwriter’s
        consent is endorsed hereon.

XI.     AUTHORIZATION CLAUSE AND NOTICES

        By acceptance of this Policy, the Insured agrees that the Private Company shall act on behalf of
        any Insured with respect to the giving and receiving of any return premiums and notices that may
        become due under this Policy. Notice to the Private Company shall be directed to the individual
        named in the Application, or such other person as shall be designated by the Private Company
        in writing. Such notice shall be deemed to be notice to any Insured. The Private Company shall
        be the agent of any Insured to effect changes in this Policy.

XII.    OTHER INSURANCE

        If the Insured has any other insurance for Claims covered hereunder, the insurance provided by
        this Policy shall be excess over such other insurance, regardless of whether such other
        insurance is collectible or designated as primary or excess.

        In event of a Claim against the Insured arising out of serving in his/her capacity as a director,
        officer, governor or trustee of an Outside Entity or an Employment Practices Act against or
        committed by a leased Employee, coverage as is afforded by this policy shall be specifically
        excess of indemnification provided by such Outside Entity or such leasing company and any
        insurance provided to such Outside Entity or such leasing company.



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XIII.    ACCEPTANCE

         This Policy embodies all agreements existing between the parties hereunder or any of their
         agents relating to this insurance

XIV.     ACTION AGAINST THE UNDERWRITER; ARBITRATION

         A.      No person or entity shall have any right under this Policy to join the Underwriter as a
                 party to any action against the Insured to determine the Insured’s liability, nor shall the
                 Underwriter be impleaded by the Insured or their legal representatives. Bankruptcy or
                 insolvency of the Insured or their successors in interest shall not relieve the Underwriter
                 of its obligations hereunder.

         B.      Any dispute relating to this Policy or the alleged breach, termination or invalidity thereof,
                 which cannot be resolved through negotiations between any Insured and the
                 Underwriter, shall be submitted to binding arbitration. The rules of the American
                 Arbitration Association shall apply except with the respect to the selection of the
                 arbitration panel. The panel shall consist of one arbitrator selected by such Insured, one
                 arbitrator selected by the Underwriter and a third independent arbitrator selected by the
                 first two arbitrators.

XV.      CHANGE IN OWNERSHIP OR CONTROL

         A.      If after the inception of the Policy Period a Transaction occurs then coverage under
                 Parts 1, 2, and 3 of this Policy shall remain in force, but only for Claims made during the
                 Policy Period for Wrongful Acts committed prior to the effective date of the
                 Transaction and only if the following conditions are met:

                 1.      the Insured provides written notice of the Transaction (other than Public
                         Offering) to the Underwriter as soon as practicable but no later than 45 days of
                         the effective date of such Transaction; and

                 2.      the Insured provides the Underwriter with such information as the Underwriter
                         deems necessary; and

                 3.      in the case of a Public Offering, the Insured provides written notice of the
                         Public Offering to the Underwriter no later than 30 days prior to the filing of any
                         registration statement with the United States Securities and Exchange
                         Commission. The Underwriter shall provide a quotation for the Public Offering.

         If Insured fails to meet conditions 1., 2., & 3. above, coverage under this Policy shall cease as of
         the effective date of the Transaction and the Underwriter shall return any unearned premium on
         a pro-rata basis.

         The Insured shall have the right, within 45 days after the Transaction (or such date the
         Underwriter may agree by endorsement), to request an offer from the Underwriter for a Run-
         Off Policy for a term up to 6 years. If elected, such Run-Off Policy shall be conditioned upon
         payment during the Policy Period by the Insured of any additional premium, which shall be fully
         earned at inception, and shall be subject to any additional terms and conditions required by the
         Underwriter.

XVI.     TERRITORY AND VALUATION

         This Policy shall extend to any Wrongful Act committed anywhere in the world.



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         All premiums, limits, retentions, Loss and other amounts under this Policy are expressed and
         payable in the currency of the United States of America. If judgment is rendered, settlement is
         denominated or another element of Loss under this Policy is stated in a currency other than
         United States of America dollars, payment under this Policy shall be made in United States
         dollars at the rate of exchange published in The Wall Street Journal on the date the final
         judgment is reached, the amount of the settlement is agreed upon or the other element of Loss is
         due, respectively.

XVII.    COVERAGE FOR A PRIVATE OFFERING

         The Insured shall give the Underwriter written notice of a Private Offering, together with full
         details and as soon as practicable, but not later than 60 days after the effective date of such
         Private Offering. However, any Claim arising out of, based upon or attributable to a Private
         Offering shall be subject to the Private Offering Retention stated in Item 4. of the Declarations
         Page. Such Private Offering Retention shall be borne by the Insureds, uninsured and at their
         own risk, except that a Private Offering Retention shall not apply to Loss incurred by Individual
         Insureds for which the Private Company is not permitted or required to indemnify the Individual
         Insured or is financially unable to do so.

XVIII.   TWO OR MORE COVERAGE PARTS OR POLICIES ISSUED BY THE UNDERWRITER.

         It is the Underwriter’s stated intention that the various coverage parts or policies issued to the
         Private Company by the Underwriter, or any affiliated company, do not provide any duplication
         or overlap of coverage for the same Claim. Notwithstanding the foregoing, if more than one
         coverage part applies to the same Wrongful Act or Interrelated Wrongful Acts, then the
         maximum Limit of Liability under all such coverage parts combined shall not exceed the highest
         applicable Limit of Liability under any one coverage part. Notwithstanding the other insurance
         provision, if this Policy and any other policy issued to the Private Company by the Underwriter,
         or any affiliated company, apply to the same Wrongful Act, professional incident, occurrence,
         offense, accident or Loss, then the maximum Limit of Liability under all such policies combined
         shall not exceed the highest applicable Limit of Liability under any one policy.

XIX.     ALLOCATION

         If both Loss covered by this Policy and Loss not covered by this Policy are incurred either
         because a Claim includes both covered and uncovered matters, or because a Claim is made
         against both the Individual Insured and/or the Private Company, and others, the Insured and
         the Underwriter shall use their best efforts to agree upon a fair and proper allocation of such
         amount between covered Loss and uncovered loss. Any such allocation shall be based upon
         the relative legal exposures of the parties to covered and uncovered matters.




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 THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

        PUNITIVE, EXEMPLARY, MULTIPLE DAMAGE EXCLUSION
This endorsement modifies and is subject to the insurance provided under the following:

                               PRIVATE COMPANY PROTECTION PLUS

This Policy is amended as follows:

With respect to coverage under Part(s)         2         , Part 4, Common Policy Definitions, C. Damages
and J. Loss are amended to read:

C. Damages means any monetary judgment (including pre-judgment and post- judgment interest thereon)
   or monetary settlement.

J. Loss means:

        1. Damages;

        2. Defense Costs;

        but Loss does not include:

        1. criminal or civil fines or penalties imposed by law except that, solely with respect to Part 3
           (Fiduciary Liability Insurance), Loss includes fines or penalties imposed under Section 502 (i)
           and (l) of ERISA; or

        2. taxes; or

        3. matters deemed uninsurable under the law to which this Policy shall be construed; or

        4.   any amounts other than Defense Costs, which an Insured is obligated to pay as a result of
                 a
             Claim seeking relief or redress in any form other than monetary damages; or

        5. any costs other than Defense Costs associated with any accommodation required pursuant
           to the American With Disabilities Act, the Civil Rights Act of 1964, rules or regulations
           promulgated thereunder, amendments thereto, or similar provisions of any federal, state or
           local law or common law; or

        6.   punitive, exemplary or multiple portion of any Damages.




All other terms and conditions of this Policy remain unchanged




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 THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


            BUSINESS ADVANTAGE PRO-PAK ELITE COVERAGE

This endorsement modifies insurance provided under the following:

                                PRIVATE COMPANY PROTECTION PLUS


In consideration of the premium paid, the policy is amended as follows:

1. OUTSIDE DIRECTORSHIP MODIFICATION

   PART 1 DIRECTORS & OFFICERS LIABILITY INSURANCE, Section II (DEFINITIONS), item A.
   (D&O Wrongful Act), item 3. is replaced by the following:

        3. act, error, omission, misstatement, misleading statement, neglect, or breach of duty committed
           or attempted by an Individual Insured arising out of serving in his/her capacity as a director,
           officer, governor or trustee of an Outside Entity if such service is at the written request or
           direction of the Private Company.


2. SECURITIES CLAIM CARVE BACK

   PART 1 (DIRECTORS & OFFICERS LIABILITY INSURANCE), Section III (EXCLUSIONS), items A.
   and F. are amended to include the following:

        Exclusions A. and F. shall not apply to any Claim brought by any security holder of the Private
        Company (whether directly or derivatively) provided that such security holder is acting totally
        independently of, and totally without the solicitation, assistance, participation, or intervention of
        any Director or Officer of the Private Company, or any affiliate thereof.


3. AMENDMENT OF PRIOR AND PENDING LITIGATION

   PART 5, (COMMON POLICY EXCLUSIONS), item F. is replaced by the following:

        1. any litigation or demand against an Insured pending on or before the respective Prior and
           Pending Date set forth in Item 5 of the Declarations Page, or the same or essentially the
           same facts as alleged in such prior litigation; or

        2. any Wrongful Act, fact, circumstance or situation which has been the subject of any
           written notice given under any other similar policy in which this Policy is a renewal or
           replacement .


4. DELETION OF EXCLUSIONS

   PART 5, (COMMON POLICY EXCLUSIONS), item G. and H. are hereby omitted in their entirety.




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5. SEVERABILITY AMENDMENT

  PART 6, (COMMON POLICY CONDITIONS), Section VI (REPRESENTATIONS AND
  SEVERABILITY), items A. and B. are replaced by the following:

      (A) In granting coverage to the Insureds under this Policy, the Underwriter has relied upon the
         declarations and statements in the written application(s) for this Policy. Such declarations and
         statements are the basis of the coverage under this Policy and shall be considered as
         incorporated in and constituting part of this Policy.

      (B) Any written application(s) shall be construed as a separate application(s) for coverage by
         each Insured. With respect to the declarations and statements in such application(s):

          (1) no fact pertaining to or knowledge possessed by any Individual Insured shall be imputed
              to any other Individual Insured for the purpose of determining if coverage is available;
              and

          (2) only facts pertaining to and knowledge possessed by the Chief Financial Officer,
              President, general counsel, risk manager, Chief Executive Officer, director of human
              resources or Chairperson of any part of the Private Company or any other individual
              signing such application(s) shall be imputed to the Private Company for the purpose of
              determining if coverage is available.


6. MODIFIED CHANGE IN OWNERSHIP OR CONTROL

  PART 6, (COMMON POLICY CONDITIONS), Section XV (CHANGE IN OWNERSHIP OR
  CONTROL), is replaced by the following:

      If after the inception of the Policy Period a Transaction occurs then this Policy shall remain in
      force, but only for Claims made during the Policy Period for Wrongful Acts committed prior to
      the effective date of the Transaction and the premium shall immediately be considered fully
      earned.

      However, in the case of a Public Offering, the Insured shall provide written notice of the Public
      Offering to the Underwriter no later than 30 days prior to the filing of any registration statement
      with the United States Securities and Exchange Commission. The Underwriter shall provide a
      quotation for the Public Offering.

      The Insured shall have the right, within 45 days after the Transaction (or such date the
      Underwriter may agree by endorsement), to request an offer from the Underwriter for a Run-Off
      Policy for a term up to 6 years. If elected, such Run-Off Policy shall be conditioned upon
      payment during the Policy Period of any additional premium, which shall be fully earned at
      inception, and shall be subject to any additional terms and conditions required by the
      Underwriter.


7. FORMER OFFICER I VS. I CARVE BACK

  PART 5, (COMMON POLICY EXCLUSIONS), item K. will not apply to any Claim:

      1. in which the party bringing the Claim has not served as a director, trustee, manager, officer or
         equivalent executive of the Private Company within four (4) years immediately preceding the
         date the Claim is first made;



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       2. in which the party bringing the Claim has not brought the Claim in concert or cooperation with,
          at the suggestion of, or with the participation, active assistance, or intervention of any other
          Insured not described in line 1 above; or
       3. based upon, arising from, or attributable to any Public Offering.



8. INDEPENDENT CONTRACTORS AS EMPLOYEES

  PART 4, (COMMON POLICY DEFINITIONS), item E. is deleted and replaced with the following:


       E. Employee means any natural person whose labor or service is engaged by and directed by
          the Private Company, including part-time, seasonal, leased and temporary employed
          persons as well as volunteers, but only while that natural person is acting in his or her
          capacity as such. Employee shall include Independent Contractor as defined below.

            Independent Contractor means an individual who is contracted to perform services for the
            Private Company; provided that such individual shall be deemed an Employee only if and to
            the extent that the Private Company provides indemnification to such individual for services
            rendered as if they were rendered by an actual Employee of the Private Company, and
            provided further that such individual(s) have been identified by the Private Company to the
            Underwriter. This Policy does not cover any Loss which any Insured is obligated to pay an
            Independent Contractor for overtime pay, vacation pay, employee benefit, or any
            compensation for services rendered.


9. AGGREGATE RETENTION

   Part 6 (COMMON POLICY CONDITIONS), section II (RETENTION CLAUSE), is replaced by:

   The Underwriter shall only be liable for that portion of Loss arising from each Claim which is in
   excess of the respective Retention stated in Item 4. of the Declarations Page. Such Retention shall
   be borne by the Insured, uninsured and at their own risk, provided no Retention shall apply to Loss
   incurred by Individual Insureds for which the Private Company is not permitted or required to
   indemnify the Individual Insured or is financially unable to do so. A single Retention shall apply to
   Loss arising from all Claims alleging Interrelated Wrongful Acts.

   The Aggregate Retentions, which must be borne by the Insured, for all Claims made during the
   Policy Period, will be triple the amount of the per claim Retentions stated in Item 4. of the
   Declarations Page.


10. CLAIM EXPENSES COVERED IN ADDITION TO LIMITS OF LIABILITY

   Part 6 (COMMON POLICY CONDITIONS), section I (LIMITS OF LIABILITY) is replaced by:

       I.   LIMITS OF LIABILITY

       Regardless of the number of Insureds involved, Claims made, the Underwriter’s liability under
       the Policy is limited as follows:

       A. With respect to coverage under Part 1 of this Policy, the Underwriter’s maximum aggregate
          liability under Part 1 for all Damages on account of all Claims made during the Policy
          Period, whether covered under Insuring Agreement A, B or C, shall be the Limit of Liability
          for each Policy Period as set forth in Item 3. (A) of the Declarations.

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         B. With respect to coverage under Part 2 and Part 3 of this Policy, the Underwriter’s maximum
            aggregate liability for all Damages on account of all Claims made during the Policy Period
            shall be the Limit of Liability for each Policy Period as set forth in Item 3.(B) and 3.(C),
            respectively, of the Declarations.

         C. The Underwriter’s maximum aggregate liability for all Damages on account of all Claims
            first made during the Policy Period under all purchased Parts, combined, shall be the
            Aggregate Limit of Liability set forth in Item 3.(D) of the Declarations. The Limits of Liability
            set forth in Item 3.(A), 3.(B), and 3.(C), are sub-limits that do not increase the Underwriter’s
            maximum liability as set forth in Item 3.(D).

         D. Defense Costs paid by the Underwriter are in addition to and not a part of the Limit of
            Liability specified in Item 3. of the Declarations. Payment by the Underwriter of Defense
            Costs incurred on account of any Claim will not reduce the Limit of Liability stated in Item 3.
            of the Declarations. The most the Underwriter will pay for Defense Costs is equal to the
            applicable Limit of Liability stated in Item 3. of the Declarations. The Underwriter is not
            obligated to pay Defense Costs nor Damages after the applicable Limit of Liability has been
            exhausted.

         E. The Limit of Liability for any Extension Period, if applicable, shall be a part of and not in
            addition to the respective Limit of Liability applicable to the Policy Period.


      Part 6 (COMMON POLICY CONDITIONS), section III (DEFENSE AND SETTLEMENT), items C and
      G are replaced by.

         C. The Underwriter is not obligated to pay any Loss after the Limit of Liability has been
            exhausted. The Underwriter may elect to tender an amount equal to the remaining Limit of
            Liability applicable to Damages to the Private Company at any time, which will be
            considered to fully satisfy the Underwriter’s obligation with regard to that Claim.

         G. If with respect to any Claim the Insured refuses to consent to the first settlement acceptable
            to the claimant which the Underwriter recommends to the Insured in writing, and elects to
            further contest the Claim, the Underwriter’s liability for such Claim shall not exceed the
            amount for which the Claim could have been settled, up to the date of such refusal.
            Notwithstanding the foregoing, this paragraph shall not apply until the settlement amount
            exceeds the Retention amount stated in Item 4. of the Declarations Page.

             In addition, if the Underwriter recommends a first settlement of a Claim within the Policy’s
             applicable Limit of Liability that is acceptable to the claimant, and the Insured consents to
             such settlement, then the Insured’s applicable Retention for such Claim shall be
             retroactively reduced by twenty-five percent (25%). It shall be a condition to such reduction
             that the Insured must consent to the first settlement amount within thirty (30) days after the
             date the Underwriter recommends to the Insured such first settlement amount, or in the
             case of a first settlement which arises from a first settlement offer by the claimant, then within
             the time permitted by the claimant to accept such first settlement offer, but in all events no
             later than thirty (30) days after the Underwriter recommends to the Insured such first
             settlement offer. If the Insured does not consent to the first settlement within the time
             prescribed above, the applicable Retention amount shall remain the respective amount set
             forth in Item 4. of the Declarations Page, even if consent is given to a subsequent settlement.

11.      MODIFICATION OF PART 3 (FIDUCIARY LIABILITY INSURANCE)

         This section only applies if a Limit of Liability is noted for Fiduciary Liability on the
         Declarations Page.

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    Part 3, Section I (Insuring Agreement), is deleted in its entirety and is replaced by the following:

    A. The Underwriter shall pay on behalf of the Insured, Loss from Claims made against the
       Insured during the Policy Period (or, if applicable, the Extended Reporting Period), and
       reported to the Underwriter pursuant to the terms of this Policy, for a Fiduciary Liability
       Act. This coverage shall not apply any claims arising out of any alleged violation of Title II of
       the Health Insurance Portability and Accountability Act of 1996 (HIPAA) and amendments to
       such law or regulations promulgated under such law concerning privacy of health information
       or arising out of Managed Care liability.

        In the event of the Insured enters into a voluntary settlement program with the Internal
        Revenue Service (or any similar state or federal agency), the Company, following prior
        notice provided by the Company to the Underwriter, during the Policy Period (or any
        applicable Extended Reporting Period), of the Company’s intent to enter into said settlement
        program, shall pay on behalf of the Insureds any fees, penalties or sanctions imposed by law
        under said settlement program for which Inured is legally liable as a result of a Fiduciary
        Liability Act in an amount not to exceed $50,000. Such amount shall be part of and not in
        addition to the Limit of Liability, as set forth in Item 3(A) of the Declarations. In no case,
        however, shall the Underwriter pay for any costs of corrections.

    B. The Underwriter shall pay on behalf of the Insured, Loss from Claims made against the
       Insured during the Policy Period (or, if applicable, the Extended Reporting Period), and
       reported to the Underwriter pursuant to the terms of this Policy, for a Fiduciary Liability Act
       arising from any alleged violation of Title II of the Health Insurance Portability and
       Accountability Act of 1996 (HIPAA) and amendments to such law or regulations promulgated
       under such law concerning privacy of health information. Coverage under this paragraph is
       subject to a sublimit of liability of $25,000. Said sublimit shall be part of and not in addition to
       the Limit of Liability, as set forth in Item 3(A) of the Declarations.

    C. The Underwriter shall pay on behalf of the Insured, Defense Costs from Claims made
       against the Insured during the Policy Period (or, if applicable, the Extended Reporting
       Period), and reported to the Underwriter pursuant to the terms of this Policy, for a Fiduciary
       Liability Act in connection with Managed Care liability solely as regards any Managed Care
       plans sponsored solely by the Private Company and insured and administered by an outside
       insurance carrier. Coverage under this paragraph is subject to a sublimit of liability of
       $100,000. Said sublimit shall be part of and not in addition to the Limit of Liability, as set forth
       in Item 3(A) of the Declarations.

        For the purposes of this endorsement Managed Care shall mean any plan providing
        comprehensive medical care to plan members on the basis of a prepaid contract and which
        by virtue thereof limits the choices of medical care and service providers available to plan
        members.

Part 3, Section II, Definitions, Paragraph B is deleted in its entirety and is replaced by the following:

B. Benefit Plan means:

   1. any Welfare Benefit Plan which was, is now or becomes sponsored by the Private Company
      solely for the benefit of the Employees of the Private Company;

   2. any Pension Benefit Plan which was, on or prior to the effective date of this Policy,
      sponsored by the Private Company solely for the benefit of the Employees of the Private
      Company, provided that coverage was available in respect of such Pension Benefit Plan
      under any policy of which this Policy is a renewal or replacement and such Pension Benefit
      Plan has been reported in writing to the Underwriter as part of the Application;

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      3. any Pension Benefit Plan created or acquired (through merger, consolidation or otherwise)
         during the Policy Period by the Insured solely for the benefit of the Employees of the
         Private Company, but only upon the condition that within 90 days after such creation or
         acquisition, the Insured shall have (i) provided written notice to the Underwriter of such newly
         created Pension Benefit Plan, and (ii) agreed to any additional terms and paid any additional
         premium required by the Underwriter in its sole discretion. The 90-day notice requirement
         shall not apply, however, if the total assets of the acquired or formed Pension Benefit Plan,
         as of the effective date of such acquisition or formation, do not exceed ten percent (10%) of
         the total plan assets shown on the most recent application submitted by the Insured
         Organization, or (2) the acquisition or formation occurs less than ninety (90) days prior to the
         end of the Policy Period; and

      4. any government-mandated benefit program for workers compensation, unemployment, social
         security or disability benefits for Employees of the Private Company.

      However, Benefit Plan does not include any multi-employer plan or any employee stock
      ownership plan unless said plan is added by specific written endorsement to this policy.

      Coverage for Benefit Plans which are sold, terminated or spun-off during or prior to the Policy
      Period shall apply only with respect to any Fiduciary Liability Act occurring prior to the date of
      such sale or spin-off, or in the case of termination, prior to the final date of asset distribution of
      such Benefit Plan.

12. AMEND DEFINITION OF THIRD PARTY

   Part 2, Section II Definitions, Paragraph C is deleted in its entirety and replaced with the following:

   C. Third Party means any natural person who is not an Employee of the Private Company.

11. MODIFICATION OF SPOUSAL EXTENSION

  PART 4, (COMMON POLICY DEFINITIONS), item G. paragraph 2, is deleted and replaced with the
  following:

   2. the lawful spouse or Domestic Partner of a director, officer, governor, trustee, or equivalent
      executive of the Private Company, but only for actual or alleged Wrongful Acts of such person
      for which such spouse may be liable as the spouse of such person. Domestic Partner means any
      person who qualifies as a domestic partner under the provisions of any federal, state or local
      statute or regulation, or under the terms and provisions of any employee benefit or other program
      established by the Private Company;




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 THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


                             AMENDMENT OF EXCLUSIONS
This endorsement modifies insurance provided under the following:

                               PRIVATE COMPANY PROTECTION PLUS


Part 1 (DIRECTORS & OFFICERS LIABILITY INSURANCE), section III (EXCLUSIONS), item E. is
replaced by:

   E. for any actual or alleged violation(s) of any of the responsibilities, obligations or duties imposed by
      the Employee Retirement Income Security Act of 1974, the Fair Labor Standards Act (except the
      Equal Pay Act), the National Labor Relations Act, the Worker Adjustment and Retraining
      Notification Act, the Consolidated Omnibus Budget Reconciliation Act, the Occupational Safety
      and Health Act, any rules or regulations of the foregoing promulgated thereunder, and
      amendments thereto or any similar federal, state, local or foreign statutory law or common law;
      provided, however, this exclusion shall not apply to a Claim for Retaliation; provided, further,
      however, there is no coverage provided under this policy for any Claim related to, arising out of,
      based upon, or attributable to the refusal, failure or inability of any Insured(s) to pay Earned
      Wages (as opposed to tort-based back pay or front pay damages) or for improper payroll
      deductions taken by any Insured(s) from any Employee(s) or purported Employee(s), including,
      but not limited to, (i) any unfair business practice claim alleged because of the failure to pay
      Earned Wages, or (ii) any Claim seeking Earned Wages because any Employee(s) or
      purported Employee(s) were improperly classified or mislabeled as "exempt."


Part 2 (EMPLOYMENT PRACTICES LIABILITY INSURANCE), section III (EXCLUSIONS), item B. is
replaced by:

   B. for any actual or alleged violation(s) of any of the responsibilities, obligations or duties imposed by
      the Employee Retirement Income Security Act of 1974, the Fair Labor Standards Act (except the
      Equal Pay Act), the National Labor Relations Act, the Worker Adjustment and Retraining
      Notification Act, the Consolidated Omnibus Budget Reconciliation Act, the Occupational Safety
      and Health Act, any rules or regulations of the foregoing promulgated thereunder, and
      amendments thereto or any similar federal, state, local or foreign statutory law or common law;
      provided, however, this exclusion shall not apply to a Claim for Retaliation; provided, further,
      however, there is no coverage provided under this policy for any Claim related to, arising out of,
      based upon, or attributable to the refusal, failure or inability of any Insured(s) to pay Earned
      Wages (as opposed to tort-based back pay or front pay damages) or for improper payroll
      deductions taken by any Insured(s) from any Employee(s) or purported Employee(s), including,
      but not limited to, (i) any unfair business practice claim alleged because of the failure to pay
      Earned Wages, or (ii) any Claim seeking Earned Wages because any Employee(s) or
      purported Employee(s) were improperly classified or mislabeled as "exempt."


Part 4 (COMMON POLICY DEFINITIONS), is supplemented by:

Earned Wages means wages or overtime pay for services rendered.




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 THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


                 AMENDMENT OF CANCELLATION PROVISION
This endorsement modifies insurance provided under the following:

                               PRIVATE COMPANY PROTECTION PLUS



Part 6 Common Policy Conditions, section V. Cancellation and Non-Renewal, item B. is amended to
include the following:

If, during the policy period, the Underwriter’s A.M. Best rating is downgraded, and the Private Company
elects to cancel the policy, then the earned premium will be calculated on a pro-rata basis.




All other terms and conditions of this Policy remain unchanged.




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   THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY

                                      Immigration Claim Coverage

   THIS ENDORSEMENT CHANGES THE POLICY.          PLEASE READ IT CAREFULLY.


   IMMIGRATION CLAIM COVERAGE


   This endorsement modifies and is subject to the insurance provided under the
   following:


   PRIVATE COMPANY PROTECTION PLUS


   1.      As a condition precedent to the coverage provided by this endorsement,
   Insured shall have adopted an employment verification system and shall
   adhere to the documentation requirements of the Federal Immigration and
   Nationality Act, 8 U.S.C. §1324a(b).          Insured agrees that failure to
   properly check employee documentation and to maintain evidence of the
   examination of said documentation as required by the Federal Immigration and
   Nationality Act, 8 U.S.C. §1324a(b), shall void coverage under this
   endorsement.


   2.      With respect to coverage under Part 2, any Immigration Claim made
   against any Insured shall be subject to a $100,000 Immigration Sublimit of
   Liability.     This Immigration Sublimit of Liability is part of and not in
   addition to the Limit of Liability stated in Item 3(B) of the Declarations.


   The Underwriter shall not have any obligation to pay any Loss arising out of
   any Immigration Claim once the $100,000            Immigration Sublimit of Liability
   has been exhausted.


   3.      For the purposes of this endorsement only, Damages arising out of an
   Immigration Claim shall include civil fines and penalties.


   4.      For the purposes of this endorsement only Immigration Claim means any
   civil complaint or proceeding based upon, arising out of, directly or
   indirectly resulting from or in consequence of, or in any way involving any
   actual or alleged violation of the Federal Immigration and Nationality Act,
   (8 U.S.C. §1324a) or any other Federal immigration law by any Insured.


   ALL OTHER TERMS AND CONDITIONS REMAIN UNCHANGED.




All other terms and conditions of this Policy remain unchanged.



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   THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY

                        Defense only Wage & Hour Carveback with Retention

   THIS ENDORSEMENT CHANGES THE POLICY.          PLEASE READ IT CAREFULLY.



   DEFENSE ONLY WAGE & HOUR CARVEBACK with RETENTION


   This endorsement modifies insurance provided under the following:


   PRIVATE COMPANY PROTECTION PLUS



   1.      Part 2, EMPLOYMENT PRACTICES LIABILITY INSURANCE, Section III.
   EXCLUSIONS, paragraph B. is amended by adding the following sentence to the
   end thereof:


   Notwithstanding the above, this exclusion shall not apply to Defense Cost
   incurred in the defense of any Claim for violation of the Fair Labor
   Standards Act (FLSA) or any similar federal, state, local or foreign
   statutory law or common law or regulation governing or related to wage and
   hour practices, including but not limited to, (i) any unfair business
   practices alleged because of the failure to pay Earned Wages, or (ii)
   seeking Earned Wages because any Employee(s) status was misclassified or
   mislabeled or (iii) any dispute involving the distribution or pooling of tip
   monies.    Coverage herewith in is subject to a Wage & Hour Sublimit of
   Defense Cost of $100,000.        This Wage & Hour Sublimit of Defense Cost shall
   be part of and not in addition to the Limit of Liability shown in Item 3.
   (B) of the Declarations.


   It is further agreed and understood that coverage herewith in this
   endorsement is subject to a $25,000 Retention (hereinafter "Wage & Hour
   Retention").     The Underwriter shall only be liable for that portion of
   Defense Cost which is in excess of the Wage & Hour Retention.


   For the purpose of this endorsement, Earned Wages means wage compensation or
   overtime pay for services rendered.


   ALL OTHER TERMS AND CONDITIONS REMAIN UNCHANGED.




All other terms and conditions of this Policy remain unchanged.



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   THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY

           Amended Definition of Employment Practice Act (Social Media Enhancement)

   THIS ENDORSEMENT CHANGES THE POLICY.          PLEASE READ IT CAREFULLY.



   Amended Definition of Employment Practice Act (Social Media Enhancement)


   This endorsement modifies insurance provided under the following:


   PRIVATE COMPANY PROTECTION PLUS


   In consideration of the premium paid, the policy is amended as follows:


   EPL COVERAGE ENHANCEMENTS


         Part 2, Employment Practices Liability Insurance is amended as follows:


         Section II. DEFINITIONS, Item A. Employment Practice Act is deleted in
   its entirety and                            replaced by the following:


             A.     Employment Practice Act means any actual or alleged:


   1.        wrongful dismissal, discharge or termination of employment;
   2.    breach of a written or oral employment contract or implied employment
   contract;
   3.        employment related misrepresentation;
   4.    wrongful failure to promote;
   5.        violation of employment discrimination laws (including harassment);
   6.        wrongful deprivation of a career opportunity;
   7.        employment related wrongful discipline;
   8.    negligent employee evaluation, training or supervision;
   9.    employment related invasion of privacy;
   10.      employment related defamation (including libel and slander);
   11.      sexual or workplace harassment of any kind;
   12.      constructive discharge of employment;
   13.      employment related Retaliation;
   14.      employment related humiliation;
   15.      wrongful demotion;
   16.      negligent reassignment;
   17.      negligent hiring or retention;
   18.    failure to grant tenure;


All other terms and conditions of this Policy remain unchanged.



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   THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY



   19.   failure to provide or enforce consistent employment policies and
   procedures;
   20.   failure to employ;
   21.   violation of any federal, state or local civil rights laws;
   22. acts described in 1. through 21. above arising from the use of the
   Private Company's Internet, e-mail, telecommunications or similar systems,
   including communications on social media networks;
   and committed or attempted by an Individual Insured in his/her capacity as
   an Individual Insured or by the Private Company.


   Solely with respect to any Claim brought by or on behalf of any Third Party,
   Employment Practice Act means any actual or alleged wrongful failure to
   employ, discrimination, sexual harassment or violation of such Third Party's
   civil rights in relation to such wrongful failure to employ, discrimination
   or sexual harassment, whether direct, indirect, or unintentional, committed
   by an Individual Insured in his/her capacity as an Individual Insured or by
   the Private Company.




All other terms and conditions of this Policy remain unchanged.



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